                    Case 19-11563-KBO                    Doc 98          Filed 07/25/19       Page 1 of 69




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------------------ x
In re:                                                                   :   Chapter 11
                                                                         :
EMERGE ENERGY SERVICES LP, et al.,                                       :   Case No. 19-11563 (KBO)
                                                                         :
                      Debtors.1                                          :   Jointly Administered
                                                                         :
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                           JOINT PLAN OF REORGANIZATION FOR
                   EMERGE ENERGY SERVICES LP AND ITS AFFILIATE DEBTORS
                       UNDER CHAPTER 11 OF THE BANKRUPTCY CODE


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Dated:      July 25, 2019




1 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are: Emerge
  Energy Services LP (2937), Emerge Energy Services GP LLC (4683), Emerge Energy Services Operating LLC (2511),
  Superior Silica Sands LLC (9889), and Emerge Energy Services Finance Corporation (9875). The Debtors’ address is 5600
  Clearfork Main Street, Suite 400, Fort Worth, Texas 76109.
                    Case 19-11563-KBO                     Doc 98          Filed 07/25/19             Page 2 of 69



                                                     TABLE OF CONTENTS

ARTICLE I. RULES OF INTERPRETATION, COMPUTATION OF TIME,
CONSENT RIGHTS, AND DEFINED TERMS............................................................................ 1
A.   Rules of Interpretation; Computation of Time.................................................................... 1
B.   Certain Consent Rights ....................................................................................................... 2
C.   Defined Terms .................................................................................................................... 2

ARTICLE II. ADMINISTRATIVE, DIP FACILITY, AND PRIORITY TAX CLAIMS ........... 19
A.   Administrative Claims ...................................................................................................... 19
     1.      Bar Date for Administrative Claims ......................................................................19
     2.      Professional Fee Claims .........................................................................................20
B.   DIP Credit Agreement Claims .......................................................................................... 20
C.   Priority Tax Claims ........................................................................................................... 21

ARTICLE III. CLASSIFICATION AND TREATMENT OF CLASSIFIED CLAIMS
AND EQUITY INTERESTS ........................................................................................................ 21
A.   Summary ........................................................................................................................... 21
B.   Classification and Treatment of Claims and Equity Interests ........................................... 22
     1.      Class 1 - Other Priority Claims ..............................................................................22
     2.      Class 2 - Other Secured Claims .............................................................................23
     3.      Class 3 - Secured Tax Claims ................................................................................23
     4.      Class 4 - Prepetition Credit Agreement Claims .....................................................24
     5.      Class 5 - Prepetition Notes Claims ........................................................................25
     6.      Class 6 – General Unsecured Claims .....................................................................26
     7.      Class 7 – Intercompany Claims .............................................................................26
     8.      Class 8 - Old Emerge GP Equity Interests .............................................................27
     9.      Class 9 - Old Emerge LP Equity Interests .............................................................27
     10.     Class 10 - Old Affiliate Equity Interests in any Emerge LP Subsidiary ................28
C.   Special Provision Governing Unimpaired Claims ............................................................ 28
D.   Elimination of Vacant Classes .......................................................................................... 28

ARTICLE IV. ACCEPTANCE OR REJECTION OF THE PLAN ............................................. 29
A.   Presumed Acceptance of Plan ........................................................................................... 29
B.   Presumed Rejection of Plan .............................................................................................. 29
C.   Voting Classes .................................................................................................................. 29
D.   Acceptance by Impaired Class of Claims ......................................................................... 29
E.   Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy
     Code .................................................................................................................................. 29
F.   Votes Solicited in Good Faith ........................................................................................... 30

ARTICLE V. MEANS FOR IMPLEMENTATION OF THE PLAN .......................................... 30
A.   Global Settlement.............................................................................................................. 30
B.   Restructuring Transactions ............................................................................................... 30
C.   Continued Corporate Existence ........................................................................................ 31
D.   Vesting of Assets in the Reorganized Debtors Free and Clear of Liens and Claims........ 31
E.   Exit Facility Loan Documents .......................................................................................... 32
                     Case 19-11563-KBO                     Doc 98            Filed 07/25/19            Page 3 of 69



F.         No Termination or Release of Prepetition Debt Liens...................................................... 32
G.         New GP/LP Equity Interests; Book Entry ........................................................................ 33
H.         New Management Incentive Plan ..................................................................................... 33
I.         New Warrants ................................................................................................................... 33
J.         Plan Securities and Related Documentation; Exemption from Securities Laws .............. 33
K.         Release of Liens and Claims ............................................................................................. 34
L.         Organizational Documents of the Reorganized Debtors .................................................. 35
M.         Directors and Officers of the Reorganized Debtors .......................................................... 35
N.         Corporate Action ............................................................................................................... 35
O.         Cancellation of Notes, Certificates and Instruments......................................................... 36
P.         Old GP/LP Equity Interests; Old Affiliate Equity Interests ............................................. 36
Q.         Sources of Cash for Plan Distributions ............................................................................. 37
R.         Continuing Effectiveness of Final Orders......................................................................... 37
S.         Funding and Use of Carve Out Reserve ........................................................................... 37
T.         Payment of Fees and Expenses of Certain Creditors ........................................................ 37

ARTICLE VI. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
LEASES ........................................................................................................................................ 38
A.   Treatment of Executory Contracts and Unexpired Leases ............................................... 38
B.   Cure of Defaults; Assignment of Executory Contracts and Unexpired Leases ................ 39
C.   Rejection of Executory Contracts and Unexpired Leases................................................. 40
D.   Claims on Account of the Rejection of Executory Contracts or Unexpired Leases ......... 40
E.   D&O Liability Insurance Policies ..................................................................................... 41
F.   Indemnification Provisions ............................................................................................... 41
G.   Extension of Time to Assume or Reject ........................................................................... 42
H.   Modifications, Amendments, Supplements, Restatements, or Other Agreements ........... 42

ARTICLE VII. PROVISIONS GOVERNING DISTRIBUTIONS.............................................. 42
A.   Distributions for Claims Allowed as of the Effective Date .............................................. 42
B.   No Postpetition Interest on Claims ................................................................................... 42
C.   Distributions by the Reorganized Debtors or Other Applicable Distribution Agent ........ 43
D.   Delivery and Distributions; Undeliverable or Unclaimed Distributions .......................... 43
     1.      Record Date for Distributions ................................................................................43
     2.      Delivery of Distributions in General......................................................................43
     3.      Minimum Distributions ..........................................................................................44
     4.      Undeliverable Distributions ...................................................................................44
E.   Compliance with Tax Requirements ................................................................................. 45
F.   Allocation of Plan Distributions Between Principal and Interest ..................................... 45
G.   Means of Cash Payment.................................................................................................... 45
H.   Timing and Calculation of Amounts to Be Distributed .................................................... 46
I.   Setoffs ............................................................................................................................... 46

ARTICLE VIII. PROCEDURES FOR RESOLVING CONTINGENT,
UNLIQUIDATED, AND DISPUTED CLAIMS AND EQUITY INTERESTS.......................... 46
A.   Resolution of Disputed Claims and Equity Interests ........................................................ 46
     1.     Allowance of Claims and Equity Interests.............................................................46
     2.     Prosecution of Objections to Claims and Equity Interests.....................................47

                                                                        ii
                    Case 19-11563-KBO                     Doc 98            Filed 07/25/19           Page 4 of 69



           3.     Claims Estimation ..................................................................................................47
           4.     Deadline to File Objections to Claims and Equity Interests ..................................47
B.         No Distributions Pending Allowance ............................................................................... 48
C.         Distributions on Account of Disputed Claims and Disputed Equity Interests Once
           They Are Allowed and Additional Distributions on Account of Previously
           Allowed Claims and Allowed Equity Interests ................................................................. 48
D.         Reserve for Disputed Claims and Disputed Equity Interests ............................................ 48

ARTICLE IX. CONDITIONS PRECEDENT TO CONFIRMATION AND
CONSUMMATION OF THE PLAN ........................................................................................... 49
A.   Conditions Precedent to Confirmation.............................................................................. 49
B.   Conditions Precedent to Consummation........................................................................... 49
C.   Waiver of Conditions ........................................................................................................ 50
D.   Effect of Non-Occurrence of Conditions to Confirmation or Consummation ................. 50

ARTICLE X. RELEASE, DISCHARGE, INJUNCTION AND RELATED
PROVISIONS ............................................................................................................................... 51
A.   General .............................................................................................................................. 51
B.   Release of Claims and Causes of Action .......................................................................... 51
C.   Waiver of Statutory Limitations on Releases ................................................................... 53
D.   Discharge of Claims and Equity Interests ......................................................................... 54
E.   Exculpation ....................................................................................................................... 54
F.   Preservation of Causes of Action ...................................................................................... 55
     1.      Maintenance of Causes of Action ..........................................................................55
     2.      Preservation of All Causes of Action Not Expressly Settled or Released .............55
G.   Injunction .......................................................................................................................... 56
H.   Binding Nature Of Plan .................................................................................................... 56
I.   Released and Settled Claims. ............................................................................................ 56
J.   Protection Against Discriminatory Treatment .................................................................. 57
K.   Integral Part of Plan .......................................................................................................... 57

ARTICLE XI. RETENTION OF JURISDICTION ...................................................................... 57

ARTICLE XII. MISCELLANEOUS PROVISIONS ................................................................... 59
A.   Substantial Consummation ............................................................................................... 59
B.   Payment of Statutory Fees; Post-Effective Date Fees and Expenses ............................... 59
C.   Conflicts ............................................................................................................................ 59
D.   Modification of Plan ......................................................................................................... 59
E.   Revocation or Withdrawal of Plan .................................................................................... 60
F.   Successors and Assigns..................................................................................................... 60
G.   Reservation of Rights........................................................................................................ 60
H.   Further Assurances............................................................................................................ 60
I.   Severability ....................................................................................................................... 60
J.   Service of Documents ....................................................................................................... 61
K.   Exemption from Transfer Taxes Pursuant to Section 1146(a) of the Bankruptcy
     Code .................................................................................................................................. 62
L.   Governing Law ................................................................................................................. 62

                                                                      iii
              Case 19-11563-KBO                      Doc 98           Filed 07/25/19             Page 5 of 69



M.   Tax Reporting and Compliance ........................................................................................ 62
N.   Schedules .......................................................................................................................... 62
O.   No Strict Construction ...................................................................................................... 62
P.   Entire Agreement .............................................................................................................. 63
Q.   Closing of Chapter 11 Cases ............................................................................................. 63
R.   Dissolution of Committee ................................................................................................. 63
S.   2002 Notice Parties ........................................................................................................... 63




                                                                 iv
               Case 19-11563-KBO             Doc 98      Filed 07/25/19       Page 6 of 69



                       JOINT PLAN OF REORGANIZATION FOR
               EMERGE ENERGY SERVICES LP AND ITS AFFILIATE DEBTORS
                   UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

         Emerge Energy Services LP and the other above-captioned debtors and debtors-in-possession
(each a “Debtor” and, collectively, the “Debtors”) jointly propose the following plan of reorganization
for the resolution of the outstanding Claims (as defined below) against, and Equity Interests (as defined
below) in, each of the Debtors. Although proposed jointly for administrative purposes, the Plan
constitutes a separate Plan for each Debtor for the resolution of outstanding Claims against and Equity
Interests in each Debtor pursuant to the Bankruptcy Code (as defined below). The Debtors are the
proponents of this Plan within the meaning of section 1129 of the Bankruptcy Code. Reference is made
to the Disclosure Statement (as such term is defined herein and distributed contemporaneously herewith)
for a discussion of the Debtors’ history, business, results of operations, historical financial information,
and projections, and for a summary and analysis of this Plan, the treatment provided for herein and certain
related matters. There also are other agreements and documents, which will be filed with the Bankruptcy
Court (as defined below), that are referenced in this Plan or the Disclosure Statement as Exhibits and Plan
Schedules. All such Exhibits and Plan Schedules are incorporated into and are a part of this Plan as if set
forth in full herein. Subject to certain restrictions and requirements set forth in 11 U.S.C. § 1127, Fed. R.
Bankr. P. 3019 and the terms and conditions set forth in this Plan, the Debtors reserve the right to alter,
amend, modify, revoke or withdraw this Plan prior to its substantial consummation.

                                                ARTICLE I.

                   RULES OF INTERPRETATION, COMPUTATION OF TIME,
                         CONSENT RIGHTS, AND DEFINED TERMS

A.      Rules of Interpretation; Computation of Time

         For purposes herein: (a) in the appropriate context, each term, whether stated in the singular or
the plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine or
neuter gender shall include the masculine, feminine and the neuter gender; (b) any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that the referenced item shall be substantially in that form or
substantially on those terms and conditions; (c) except as otherwise provided herein, any reference herein
to an existing or to be Filed contract, lease, instrument, release, indenture, or other agreement or
document shall mean as it may be amended, modified or supplemented from time to time; (d) any
reference to an Entity as a Holder of a Claim or an Equity Interest includes that Entity’s successors and
assigns; (e) unless otherwise specified, all references herein to “Articles,” “Sections,” “Exhibits” and
“Plan Schedules” are references to Articles, Sections, Exhibits and Plan Schedules hereof or hereto; (f)
unless otherwise stated, the words ‘‘herein,’’ “hereof,” “hereunder” and ‘‘hereto’’ refer to this Plan in its
entirety rather than to a particular portion of this Plan; (g) subject to the provisions of any contract,
certificate of incorporation, by-law, instrument, release, indenture, or other agreement or document
entered into in connection with this Plan and except as expressly provided in Article XII.C of this Plan,
the rights and obligations arising pursuant to this Plan shall be governed by, and construed and enforced
in accordance with the applicable federal law, including the Bankruptcy Code and Bankruptcy Rules;
(h) captions and headings to Articles and Sections are inserted for convenience of reference only and are
not intended to be a part of or to affect the interpretation hereof; (i) the rules of construction set forth in
section 102 of the Bankruptcy Code shall apply to this Plan; (j) references to a specific article, section, or
subsection of any statute, rule, or regulation expressly referenced herein shall, unless otherwise specified,
include any amendments to or successor provisions of such article, section, or subsection; (k) any term
used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or
               Case 19-11563-KBO            Doc 98       Filed 07/25/19      Page 7 of 69



the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be; (l) all references to docket numbers of documents Filed in the
Chapter 11 Cases are references to the docket numbers under the Bankruptcy Court’s CM/ECF system;
(m) references to “shareholders,” “directors,” and/or “officers” shall also include “members” and/or
“managers,” as applicable, as such terms are defined under the applicable state limited liability company
laws; and (n) all references to statutes, regulations, orders, rules of courts, and the like shall mean as
amended from time to time, and as applicable to the Chapter 11 Cases, unless otherwise stated. Except as
otherwise specifically provided in this Plan to the contrary, references in this Plan to “the Debtors” or to
“the Reorganized Debtors” shall mean “the Debtors and the Reorganized Debtors,” as applicable, to the
extent the context requires.

         Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall
apply in computing any period of time prescribed or allowed herein. If the date on which a transaction
may occur pursuant to this Plan shall occur on a day that is not a Business Day, then such transaction
shall instead occur on the next succeeding Business Day.

B.      Certain Consent Rights

        Notwithstanding anything in the Plan to the contrary, any and all consent rights of the Consenting
Creditors set forth in the Restructuring Support Agreement with respect to the form and substance of this
Plan, the Plan Supplement, the Plan Documents, and any other Definitive Document (as defined in the
Restructuring Support Agreement), including any amendments, restatements, supplements, or other
modifications to such documents, and any consents, waivers, or other deviations under or from any such
documents, shall be incorporated herein by this reference (including to the applicable definitions set forth
herein) and fully enforceable as if stated in full herein until such time as the Restructuring Support
Agreement is terminated in accordance with its terms.

C.      Defined Terms

       Unless the context otherwise requires, the following terms shall have the following meanings
when used in capitalized form herein:

       “510(b) Equity Claim” means any Claim subordinated pursuant to section 510(b) of the
Bankruptcy Code.

        “Accrued Professional Compensation” means, with respect to a particular Professional, an
Administrative Claim of such Professional for compensation for services rendered or reimbursement of
costs, expenses or other charges incurred on or after the Petition Date and prior to and including the
Effective Date (including, without limitation, reasonable out-of-pocket expenses of the Committee
Members incurred in discharge of their duties as such).

         “Administrative Claim” means a Claim for costs and expenses of administration of the Chapter 11
Cases that are Allowed under sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including, without limitation: (a) any actual and necessary costs and expenses incurred on or after the
Petition Date and through the Effective Date of preserving the Estates and operating the businesses of the
Debtors; (b) Professional Fee Claims and any other compensation for legal, financial, advisory,
accounting, and other services and reimbursement of expenses Allowed by the Bankruptcy Court under
sections 328, 330, 331 or 503(b) of the Bankruptcy Code to the extent incurred on or after the Petition
Date and through the Effective Date; (c) DIP Credit Agreement Claims, (d) Cure Claim Amounts, and (e)
all fees and charges assessed against the Estates under section 1930, chapter 123, of title 28, United States
Code.


                                                     2
               Case 19-11563-KBO            Doc 98       Filed 07/25/19      Page 8 of 69



        “Administrative Claims Bar Date” means the Business Day which is thirty (30) days after the
Effective Date, or such other date as approved by Final Order of the Bankruptcy Court.

        “Affiliate” means an “affiliate,” as defined in section 101(2) of the Bankruptcy Code.

       “Affiliate Debtor(s)” means, individually or collectively, any Debtor or Debtors other than
Emerge GP or Emerge LP.

        “Allowed” means, with respect to a Claim or Equity Interest, an Allowed Claim or Allowed
Equity Interest in a particular Class or category specified. Any reference herein to the allowance of a
particular Allowed Claim includes both the secured and unsecured portions of such Claim.

         “Allowed Claim” means any Claim that is not a Disputed Claim or a Disallowed Claim and (a) for
which a Proof of Claim has been timely Filed by the applicable Claims Bar Date and as to which no
objection to allowance thereof has been timely interposed within the applicable period of time fixed by
this Plan, the Bankruptcy Code, the Bankruptcy Rules or order of the Bankruptcy Court; (b) that has been
listed by the Debtors in their Schedules as liquidated in a specified amount and is not disputed or
contingent and for which no contrary Proof of Claim has been timely Filed; or (c) that is expressly
Allowed pursuant to the terms of this Plan or a Final Order of the Bankruptcy Court. The term “Allowed
Claim” shall not, for purposes of computing distributions under this Plan, include interest on such Claim
from and after the Petition Date, except as provided in sections 506(b) or 511 of the Bankruptcy Code or
as otherwise expressly set forth in this Plan or a Final Order of the Bankruptcy Court.

        “Allowed _____ Claim” means an Allowed Claim of the type described.

         “Allowed Equity Interest” means any Old GP/LP Equity Interest that is not a Disputed Equity
Interest and (a) as to which no objection to allowance has been timely interposed in accordance with
section 502 of the Bankruptcy Code or such other applicable period of limitation fixed by the Bankruptcy
Code, the Bankruptcy Rules or the Bankruptcy Court, or as to which any objection has been determined
by a Final Order to the extent such objection is determined in favor of the respective holder; or (b) that is
expressly allowed by this Plan.

        “Allowed _____ Equity Interest” means an Allowed Equity Interest of the type described.

        “Amended/New Organizational Documents” means, as applicable, the amended and restated or
new applicable organizational documents of the New General Partner and Reorganized Emerge LP Filed
with the Plan Supplement.

         “Avoidance Actions” means any and all avoidance, recovery, subordination or similar actions or
remedies that may be brought by and on behalf of the Debtors or their Estates under the Bankruptcy Code
or applicable non-bankruptcy law, including, without limitation, actions or remedies arising under chapter
5 of the Bankruptcy Code; provided that Avoidance Action does not include Released and Settled Claims.

        “Ballots” means the ballots accompanying the Disclosure Statement, which were approved by the
Disclosure Statement Order (modified, as necessary, based upon the applicable voting party in accordance
with the Disclosure Statement Order), including any Master Ballots and Beneficial Owner Ballots.

        “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as amended
from time to time and as applicable to the Chapter 11 Cases.




                                                     3
                 Case 19-11563-KBO            Doc 98        Filed 07/25/19      Page 9 of 69



        “Bankruptcy Court” means the United States Bankruptcy Court for the District of Delaware, or
any other court having jurisdiction over the Chapter 11 Cases.

       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and the Local Rules of the
Bankruptcy Court, in each case as amended from time to time and as applicable to the Chapter 11 Cases.

         “Beneficial Holder” means, as of the applicable date of determination, a beneficial owner of the
Prepetition Notes or Old Emerge LP Equity Interests as reflected in the records maintained by the
Registered Record Owner or Intermediary Record Owner, as applicable.

        “Beneficial Holder Ballots” means the Ballots accompanying the Disclosure Statement upon
which Beneficial Holders of the Prepetition Notes or the Old Emerge LP Equity Interests entitled to vote
should, among other things, indicate their acceptance or rejection of this Plan and whether to
affirmatively opt out of the Third Party Release.

       “Business Day” means any day, other than a Saturday, Sunday or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

          “Cash” means the legal tender of the United States of America or the equivalent thereof.

         “Carve Out Reserve” means the reserve established and maintained by the Reorganized Debtors
to pay in full in Cash the Professional Fee Claims incurred on or prior to the Effective Date.

         “Causes of Action” means any claims, causes of action (including Avoidance Actions), demands,
actions, suits, obligations, liabilities, cross-claims, counterclaims, offsets, or setoffs of any kind or
character whatsoever, in each case whether known or unknown, contingent or non-contingent, matured or
unmatured, suspected or unsuspected, foreseen or unforeseen, direct or indirect, choate or inchoate,
existing or hereafter arising, under statute, in contract, in tort, in law, or in equity, or pursuant to any other
theory of law, federal or state, whether asserted or assertable directly or derivatively in law or equity or
otherwise by way of claim, counterclaim, cross-claim, third party action, action for indemnity or
contribution or otherwise, based in whole or in part upon any act or omission or other event occurring
prior to the Petition Date or during the course of the Chapter 11 Cases, including through the Effective
Date.

        “Chapter 11 Case(s)” means (a) when used with reference to a particular Debtor, the case under
chapter 11 of the Bankruptcy Code commenced by such Debtor in the Bankruptcy Court, and (b) when
used with reference to all Debtors, the cases under chapter 11 of the Bankruptcy Code commenced by the
Debtors in the Bankruptcy Court being jointly administered under Case No. 19-11563 (KBO).

          “Claim” means any “claim” (as defined in section 101(5) of the Bankruptcy Code) against any
Debtor.

       “Claims Bar Date” means the last date for filing a Proof of Claim in these Chapter 11 Cases, as
provided in the Claims Bar Date Order.

        “Claims Bar Date Order” means that certain [Order Pursuant to Bankruptcy Rule 3003(c)(3) and
Local Rule 2002-1(e) Establishing Bar Dates and Related Procedures for Filing Proofs of Claim
(Including for Administrative Expense Claims Arising Under Section 503(b)(9) of the Bankruptcy Code)
and Approving the Form and Manner of Notice Thereof], entered by the Bankruptcy Court in the Chapter
11 Cases (Docket No. [__]), as amended, supplemented or modified from time to time.



                                                        4
                Case 19-11563-KBO          Doc 98        Filed 07/25/19    Page 10 of 69



        “Claims Objection Deadline” means, with respect to any Claim, the latest of (a) one hundred
eighty (180) days after the Effective Date; (b) ninety (90) days after the Filing of an applicable Proof of
Claim, or (c) such other date as may be specifically fixed by Final Order of the Bankruptcy Court for
objecting to such Claim.

           “Claims Register” means the official register of Claims maintained by the Voting and Claims
Agent.

        “Class” means a category of Holders of Claims or Equity Interests as set forth in Article III
hereof pursuant to section 1122(a) of the Bankruptcy Code.

           “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

        “Collateral” means any property or interest in property of the Debtors’ Estates that is subject to a
valid and enforceable Lien to secure a Claim.

           “Commission” means the U.S. Securities and Exchange Commission.

        “Committee” means any official committee of the Debtors appointed by the United States Trustee
in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code, if appointed and as
reconstituted from time to time.

           “Committee Members” means the members of the Committee and their respective successors and
assigns.

        “Confirmation” means the occurrence of the Confirmation Date, subject to all conditions
specified in Article IX of this Plan having been satisfied or waived pursuant to Article IX of this Plan.

       “Confirmation Date” means the date on which the clerk of the Bankruptcy Court enters the
Confirmation Order on the docket of the Bankruptcy Court in the Chapter 11 Cases.

        “Confirmation Hearing” means the hearing held by the Bankruptcy Court pursuant to section
1128 of the Bankruptcy Code to consider confirmation of this Plan, as such hearing may be adjourned or
continued from time to time.

        “Confirmation Order” means the order of the Bankruptcy Court confirming this Plan pursuant to
section 1129 of the Bankruptcy Code.

       “Consenting Creditors” means, collectively, the Consenting Prepetition Credit Agreement
Lenders and the Consenting Prepetition Noteholders.

        “Consenting Creditors Professionals” means, collectively, (i) Weil, Gotshal & Manges LLP, as
counsel to the Consenting Creditors, (ii) Pachulski, Stang, Ziehl & Jones LLP as Delaware counsel to the
Consenting Creditors, and (iii) any other professional retained by the Consenting Creditors during the
Chapter 11 Cases.

        “Consenting Equity Holders” means the direct and indirect owners of Emerge GP that are party to
the Restructuring Support Agreement as “Consenting Equity Holders” thereunder.




                                                     5
                 Case 19-11563-KBO           Doc 98       Filed 07/25/19       Page 11 of 69



       “Consenting Prepetition Credit Agreement Lenders” means those Holders of the Prepetition
Credit Agreement Claims that are party to the Restructuring Support Agreement as “Consenting
Revolving Loan Lenders” thereunder.

        “Consenting Prepetition Noteholders” means those Holders of the Prepetition Notes that are party
to the Restructuring Support Agreement as “Consenting Noteholders” thereunder.

           “Consummation” means the occurrence of the Effective Date.

           “Cure Claim Amount” has the meaning set forth in Article VI.B of this Plan.

         “D&O Liability Insurance Policies” means all insurance policies (including, without limitation,
any management liability policies, general liability policies, any errors and omissions policies, and, in
each case, any agreements, documents, or instruments related thereto) issued at any time on or prior to the
Effective Date and providing coverage for liability of any Debtor’s directors, managers, and officers, and
including any “tail”, “runoff” or extended reporting period coverage to the extent obtained by the Debtors
in relation to any such insurance policies.

        “Debtor(s)” means, individually, any of the above-captioned debtors and debtors-in-possession
and, collectively, all of the above-captioned debtors and debtors-in-possession.

           “Debtor Release” has the meaning set forth in Article X.B hereof.

           “Debtor Releasing Parties” has the meaning set forth in Article X.B hereof.

        “DIP Credit Agreement” means that certain Senior Secured Priming and Superpriority Debtor-In-
Possession Credit and Security Agreement, dated as of July [_], 2019, by and among Emerge LP, the
Emerge LP Subsidiaries party thereto, the DIP Credit Agreement Agent, and the DIP Credit Agreement
Lenders, as amended, supplemented, or modified from time to time prior to the Effective Date.

       “DIP Credit Agreement Agent” means HPS Investment Partners, LLC, in its capacity as
administrative agent under the DIP Credit Agreement.

         “DIP Credit Agreement Claims” means any and all Claims arising from, under or in connection
with the DIP Credit Agreement (including, without limitation, any and all “Obligations” as defined
therein) or any other DIP Loan Document.

           “DIP Credit Agreement Lenders” means the lenders party to the DIP Credit Agreement from time
to time.

      “DIP Credit Agreement Liens” means the Liens securing the payment of the DIP Credit
Agreement Claims.

      “DIP Loan Documents” means, collectively, the DIP Credit Agreement and the DIP Security
Document.

       “DIP Order” means that certain [Final Order], entered by the Bankruptcy Court in the Chapter
11 Cases (Docket No. [___]), as such order may be amended, supplemented, or modified from time to
time.




                                                      6
              Case 19-11563-KBO           Doc 98        Filed 07/25/19    Page 12 of 69



      “DIP Security Document” means the “Security Document” as defined in the DIP Credit
Agreement, in each case as amended, supplemented, or modified from time to time prior to the Effective
Date.

        “Disallowed” means, with respect to a Claim or Equity Interest, a Disallowed Claim or
Disallowed Equity Interest in a particular Class or category specified.

        “Disallowed Claim” means a Claim, or any portion thereof, that (a) has been disallowed by a
Final Order, or (b) (i) is Scheduled at zero, in an unknown amount or as contingent, disputed or
unliquidated and (ii) as to which the Claims Bar Date has been established but no Proof of Claim has been
timely Filed or deemed timely Filed under applicable law.

        “Disallowed Equity Interest” means any Old GP/LP Equity Interest that has been disallowed by
Final Order.

        “Disclosure Statement” means that certain Disclosure Statement for the Joint Plan of
Reorganization for Emerge Energy Services LP and its Affiliate Debtors Under Chapter 11 of the
Bankruptcy Code, dated as of [_______], 2019 (as amended, supplemented, or modified from time to
time) that was approved by the Disclosure Statement Order.

         “Disclosure Statement Order” means that certain [Order (A) Approving the Disclosure Statement,
(B) Establishing the Voting Record Date, Voting Deadline and Other Dates, (C) Approving Procedures
for Soliciting, Receiving and Tabulating Votes on the Plan and for Filing Objections to the Plan and (D)
Approving the Manner and Form of Notice and Other Related Documents], entered by the Bankruptcy
Court in the Chapter 11 Cases (Docket No. [___]), as such order may be amended, supplemented, or
modified from time to time.

        “Disputed Claim” means any Claim, or any portion thereof, that is not a Disallowed Claim, that
has not been Allowed pursuant to this Plan or a Final Order of the Bankruptcy Court, and

                (a)     if a Proof of Claim has been timely Filed by the applicable Claims Bar Date, such
        Claim is designated on such Proof of Claim as unliquidated, contingent or disputed, or in zero or
        unknown amount, and has not been resolved by written agreement of the parties or a Final Order
        of the Bankruptcy Court; or

                (b)      if either (1) a Proof of Claim has been timely Filed by the applicable Claims Bar
        Date or (2) a Claim has been listed on the Schedules as other than unliquidated, contingent or
        disputed, or in zero or unknown amount, a Claim (i) as to which any Debtor has timely filed an
        objection or request for estimation in accordance with this Plan, the Bankruptcy Code, the
        Bankruptcy Rules, and any orders of the Bankruptcy Court or for which such time period to
        object or file a request for estimation has not yet expired as of the applicable date of
        determination or (ii) which is otherwise disputed by any Debtor in accordance with applicable
        law, in each case which objection, request for estimation or dispute has not been withdrawn,
        overruled or determined by a Final Order; or

                (c)     that is the subject of an objection or request for estimation Filed in the
        Bankruptcy Court and which such objection or request for estimation has not been withdrawn,
        resolved or overruled by Final Order of the Bankruptcy Court; or




                                                    7
              Case 19-11563-KBO            Doc 98        Filed 07/25/19     Page 13 of 69



                (d)     that is otherwise disputed by any Debtor in accordance with the provisions of this
        Plan or applicable law, which dispute has not been withdrawn, resolved or overruled by Final
        Order.

        “Disputed Equity Interest” means an Equity Interest, or any portion thereof, that (a) is the subject
of an objection or request for estimation Filed in the Bankruptcy Court and which objection or request for
estimation has not been withdrawn or overruled by a Final Order of the Bankruptcy Court, and/or (b) is
otherwise disputed by the Debtors or the Reorganized Debtors in accordance with applicable law, which
dispute has not been withdrawn, resolved or overruled by Final Order.

        “Distribution Agent” means the Reorganized Debtors (other than Emerge GP), or any party
designated by the Reorganized Debtors (other than Emerge GP) to serve as distribution agent under this
Plan. For purposes of distributions under this Plan to the Holders of Allowed DIP Credit Agreement
Claims, Allowed Prepetition Credit Agreement Claims and Allowed Prepetition Notes Claims, the DIP
Credit Agreement Agent, the Prepetition Credit Agreement Agent and the Prepetition Notes Agent,
respectively, will be and shall act as the Distribution Agent.

         “Distribution Record Date” means the date for determining which Holders of Claims and Equity
Interests are eligible to receive distributions under this Plan, which date shall be the Effective Date.

        “DTC” means the Depository Trust Company.

         “Effective Date” means the first Business Day on which the conditions specified in Article IX of
this Plan, have been satisfied or waived in accordance with the terms of Article IX.

        “Emerge GP” means Emerge Energy Services GP LLC, as debtor and debtor-in-possession in
these Chapter 11 Cases.

       “Emerge Holdings” means Emerge Energy Services Holdings LLC, a non-debtor in these Chapter
11 Cases and the sole member of Emerge GP.

       “Emerge LP” means Emerge Energy Services LP, as debtor and debtor-in-possession in these
Chapter 11 Cases.

        “Emerge LP Subsidiary” means each direct and indirect subsidiary of Emerge LP, as debtor and
debtor-in-possession in these Chapter 11 Cases.

        “Entity” means an “entity” as defined in section 101(15) of the Bankruptcy Code.

          “Equity Interest” means (a) any Equity Security or other ownership interest in any Debtor,
including, without limitation, all issued, unissued, authorized or outstanding units, shares of stock and
other ownership interests (whether general partnership interests, limited partnership interests, or
otherwise), together with (i) any options, warrants or contractual rights to purchase or acquire any such
Equity Securities at any time with respect to any Debtor, and all rights arising with respect thereto and
(ii) the rights of any Person or Entity to purchase or demand the issuance of any of the foregoing and shall
include: (1) conversion, exchange, voting, participation, and dividend rights; (2) liquidation preferences;
(3) options, warrants, and call and put rights; (4) share-appreciation rights; and (5) all Unexercised Equity
Interests, and (b) any 510(b) Equity Claim, in each case, as in existence immediately prior to the Effective
Date.




                                                     8
              Case 19-11563-KBO            Doc 98        Filed 07/25/19     Page 14 of 69



        “Equity Security” means an “equity security” as defined in section 101(16) of the Bankruptcy
Code.

         “Estate(s)” means, individually, the estate of each of the Debtors and, collectively, the estates of
all of the Debtors created under section 541 of the Bankruptcy Code.

         “Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C. §§ 78a et seq., as now in
effect or hereafter amended, and any similar federal, state or local law.

        “Exculpated Parties” means, collectively: (a) the Debtors; (b) the Reorganized Debtors; (c) any
Committee and the members thereof in their capacity as such; (d) the DIP Credit Agreement Agent;
(e) DIP Credit Agreement Lenders; (f) the Prepetition Credit Agreement Agent; (g) the Prepetition Credit
Agreement Lenders; (h) the Prepetition Notes Agent; (i) the Prepetition Noteholders; and (j) in each case,
the respective Related Persons of each of the foregoing Entities.

        “Exculpation” means the exculpation provision set forth in Article X.E hereof.

       “Executory Contract” means a contract to which any Debtor is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

       “Exhibit” means an exhibit annexed to either this Plan or as an appendix to the Disclosure
Statement (as such exhibits are amended, modified or otherwise supplemented from time to time).

        “Exit Facility Agent” means the administrative agent and collateral agent under the Exit Facility
Credit Agreement, solely in its capacity as such.

       “Exit Facility Credit Agreement” means the credit agreement, Filed with the Plan Supplement,
which credit agreement shall contain terms and conditions consistent in all respects with those set forth on
the Exit Facility Term Sheet and, to the extent any terms and conditions are not set forth on or
contemplated therein, such other terms and conditions as are acceptable to the Special Restructuring
Committee and the Majority Noteholders in the manner set forth in the Restructuring Support Agreement.

        “Exit Facility Intercreditor Agreement” means that certain intercreditor agreement to be entered
into on the Effective Date by and among the Exit Facility Agent and the New Second Lien Notes Agent,
which document shall contain such terms and conditions as shall be set forth in the form intercreditor
agreement or summary term sheet (summarizing the material terms) to be Filed with the Plan Supplement,
and which terms and conditions shall be acceptable to the parties thereto.

         “Exit Facility Lenders” means each of the lenders under the Exit Facility Credit Agreement,
solely in their respective capacities as such.

        “Exit Facility Loan Documents” means the Exit Facility Credit Agreement, the Exit Facility
Intercreditor Agreement, and any other guarantee, security agreement, deed of trust, mortgage, and other
documents (including UCC financing statements), contracts, and agreements entered into with respect to,
or in connection with, the Exit Facility Credit Agreement.

        “Exit Facility Loans” means the loans contemplated under the Exit Facility Credit Agreement.

        “Exit Facility Term Sheet” means the term sheet attached to this Plan as Exhibit [__] or Filed with
the Plan Supplement.



                                                     9
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 15 of 69



         “Face Amount” means (a) when used in reference to a Disputed Claim, the full stated amount of
the Claim asserted by the applicable Holder in any Proof of Claim timely Filed with the Bankruptcy
Court, (b) when used in reference to an Allowed Claim, the Allowed amount of such Claim, and (c) with
respect to Old GP/LP Equity Interests, the number of shares or units held by such Holder.

        “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy Court or its
authorized designee in the Chapter 11 Cases.

         “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent
jurisdiction with respect to the subject matter, as entered on the docket in any Chapter 11 Case or the
docket of any court of competent jurisdiction, and as to which the time to appeal, or seek certiorari or
move for a new trial, reargument, or rehearing has expired and no appeal or petition for certiorari or other
proceedings for a new trial, reargument, or rehearing has been timely taken, or as to which any appeal that
has been taken or any petition for certiorari that has been or may be timely Filed has been withdrawn or
resolved by the highest court to which the order or judgment was appealed or from which certiorari was
sought or the new trial, reargument, or rehearing shall have been denied, resulted in no stay pending
appeal of such order, or has otherwise been dismissed with prejudice; provided, however, that the
possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule
under the Bankruptcy Rules, may be filed with respect to such order shall not preclude such order from
being a Final Order.

       “General Unsecured Claim” means any Claim that is not a/an: Administrative Claim; DIP Credit
Agreement Claim; Professional Fee Claim; Priority Tax Claim; Secured Tax Claim; Other Priority Claim;
Other Secured Claim; Intercompany Claim; Prepetition Debt Claim; or 510(b) Equity Claim.

          “Global Settlement” means that certain settlement incorporated into and described in Section 5.1
of the Plan, pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and consistent
in all respects with the Restructuring Support Agreement.

       “Governmental Unit” means a “governmental unit” as defined in section 101(27) of the
Bankruptcy Code.

        “Holder” means an Entity holding a Claim or Equity Interest.

         “Impaired” means, when used in reference to a Claim or Equity Interest, a Claim or Equity
Interest that is “impaired” within the meaning of section 1124 of the Bankruptcy Code.

        “Indemnification Provisions” means, collectively, each of the provisions currently in place
(whether in bylaws, certificates of formation or incorporation, board resolutions, employment contracts or
otherwise) whereby any Debtor agrees to indemnify, reimburse, provide contribution or advance fees and
expenses to or for the benefit of, defend, exculpate, or limit the liability of, any Indemnified Party.

         “Indemnified Parties” means each of the Debtor’s respective directors, officers, and managers in
their respective capacities as such, and solely to the extent that such party was serving in such capacity on
or any time after the date of the Restructuring Support Agreement.

        “Initial Distribution Date” means the date that is as soon as practicable after the Effective Date,
but no later than thirty (30) days after the Effective Date, when, subject to the “Treatment” sections in
Article III hereof, distributions under this Plan shall commence to Holders of Allowed Claims and
Allowed Equity Interests; provided that any applicable distributions under this Plan on account of the DIP
Credit Agreement Claims and the Prepetition Debt Claims shall be made to the applicable Distribution


                                                     10
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 16 of 69



Agent on the Effective Date, and each such Distribution Agent shall make its respective distributions as
soon as practicable thereafter.

        “Intercompany Claim” means any Claim against any of the Debtors held by another Debtor, other
than an Administrative Claim.

         “Intermediary Record Owners” means, as of the applicable date of determination, the banks,
brokerage firms, or the agents thereof as the Entity through which the Beneficial Holders hold the
Prepetition Notes or Old Emerge LP Equity Interests, as applicable.

        “IRC” means the Internal Revenue Code of 1986, as amended.

        “IRS” means the Internal Revenue Service of the United States of America.

         “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code, and, with respect to
any property or asset, includes, without limitation, any mortgage, lien, pledge, charge, security interest or
other encumbrance of any kind, or any other type of preferential arrangement that has the practical effect
of creating a security interest, in respect of such property or asset.

        “Litigation Claims” means the claims, rights of action, suits or proceedings, whether in law or in
equity, whether known or unknown, that any Debtor or any Estate may hold against any Person or Entity,
including, without limitation, the Causes of Action of the Debtors or their Estates, in each case solely to
the extent of the Debtors’ or their Estates’ interest therein. A non-exclusive list of the Litigation Claims
held by the Debtors as of the Effective Date is to be Filed with the Plan Supplement, which shall be
deemed to include any derivative actions filed against any Debtor as of the Effective Date.

       “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of the United States
Bankruptcy Court for the District of Delaware.

       “Majority Noteholders” means Prepetition Noteholders holding more than 50% of the outstanding
aggregate principal amount of the Prepetition Notes Claims.

        “Majority Lenders” means Prepetition Credit Agreement Lenders holding more than 50% of the
outstanding aggregate principal amount of the Prepetition Credit Agreement Claims.

        “Master Ballot” means the ballot distributed to the Registered Record Owners or Intermediary
Record Owners, as applicable, of the Prepetition Notes or Old Emerge LP Equity Interests to record the
votes of the Beneficial Holders thereof as of the Voting Record Date.

        “MSHA Action” means that certain mud retaining pond wall breach, which occurred on June 21,
2019 at the San Antonio, Texas facility of the Debtors, the related 103(k) order issued by the Mine Safety
and Health Administration affecting the entire mine area at the San Antonio Texas facility, and all related
matters affecting the condition of the mine at the San Antonio Texas Facility.

        “New Board” means the initial board of directors of the New General Partner to be put in place on
and as of the Effective Date, which board shall be selected by the Majority Noteholders as described in
the Restructuring Term Sheet. The members of the New Board shall be Filed with the Plan Supplement.

        “New Emerge GP Equity Interests” means the ownership interests in the New General Partner
authorized to be issued pursuant to this Plan (and subject to the Restructuring Transactions) and the
Amended/New Organizational Documents.


                                                     11
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 17 of 69



         “New Emerge LP Equity Interests” means the ownership interests in Reorganized Emerge LP
(whether general or limited) authorized to be issued pursuant to this Plan (and subject to the Restructuring
Transactions) and the Amended/New Organizational Documents, including the New General Partnership
Interests and the New Limited Partnership Interests.

        “New General Partner” means, in accordance with the Restructuring Transactions, the new
general partner of Reorganized Emerge LP appointed by the Majority Noteholders and newly formed
pursuant to this Plan on or after the Effective Date, and its successors.

      “New GP/LP Equity Interests” means, collectively, the New Emerge GP Equity Interests and the
New Emerge LP Equity Interests.

       “New General Partnership Interests” means the new general partnership interests in Reorganized
Emerge LP to be issued on and as of the Effective Date to the New General Partner.

        “New Limited Partnership Interests” means the new limited partnership interests in Reorganized
Emerge LP to be issued on and as of the Effective Date to the Prepetition Noteholders and, subject to the
terms and conditions of this Plan, certain other Holders.

         “New Management Incentive Plan” means a post-Effective Date equity incentive plan providing
for the issuance from time to time, as approved by the New Board, of New Limited Partnership Interests
to those individuals involved in day-to-day management of the Reorganized Debtors. The New Board
shall determine allocation and other terms of the New Management Incentive Plan.

       “New Management Incentive Plan Equity” means the New Limited Partnership Interests issued
pursuant to the New Management Incentive Plan.

       “New Second Lien Notes” means the secured notes contemplated under the New Second Lien
Notes Agreement.

        “New Second Lien Notes Agent” means HPS Investment Partners, LLC, in its capacity as
administrative agent and notes agent under the New Second Lien Notes Agreement, or such other party
selected by HPS Investment Partners, LLC.

        “New Second Lien Notes Agreement” means the notes agreement, Filed with the Plan
Supplement, which agreement shall contain terms and conditions consistent in all respects with those set
forth on the New Second Lien Notes Term Sheet and, to the extent any terms and conditions are not set
forth on or contemplated therein, such other terms and conditions as are acceptable to the Special
Restructuring Committee and the Majority Noteholders.

        “New Second Lien Notes Documents” means the New Second Lien Notes, the New Second Lien
Notes Agreement and any other guarantee, security agreement, deed of trust, mortgage, and other
documents (including UCC financing statements), contracts, and agreements entered into with respect to,
or in connection with, the New Second Lien Notes Agreement.

         “New Second Lien Notes Term Sheet” means the term sheet attached to this Plan as Exhibit [__]
or Filed with the Plan Supplement.

        “New Warrants” means the warrants contemplated under the New Warrants Agreement.




                                                    12
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 18 of 69



        “New Warrants Agreement” means the warrant agreement Filed with the Plan Supplement, which
warrant agreement shall contain terms and conditions consistent in all respects with those set forth on the
New Warrants Term Sheet and, to the extent any terms and conditions are not set forth on or
contemplated therein, such other terms and conditions as are acceptable to the Special Restructuring
Committee, the Majority Noteholders, and the other applicable parties to the Restructuring Support
Agreement in the manner set forth therein.

        “New Warrants Term Sheet” means the term sheet attached to this Plan as Exhibit [__] or Filed
with the Plan Supplement.

         “Non-Debtor Releasing Parties” means, collectively: (a) the Committee and the members thereof
in their capacity as such; (b) the Prepetition Credit Agreement Agent and the Releasing Prepetition Credit
Agreement Lenders; (c) the DIP Credit Agreement Agent and the DIP Credit Agreement Lenders (d) the
Prepetition Notes Agent and the Releasing Prepetition Noteholders; (e) the Releasing Old Emerge LP
Equity Holders; and (f) those Holders of General Unsecured Claims or Old Emerge LP Equity Interests
that do not affirmatively opt out of the Third Party Release as provided on their respective Ballots.

        “Non-Voting Classes” means, collectively, Classes 1-4 and 7-10.

        “Notice” has the meaning set forth in Article XII.J of this Plan.

        “Old Affiliate Equity Interests” means, collectively, the Equity Interests in each Emerge LP
Subsidiary, in each case as in existence immediately prior to the Effective Date.

       “Old Emerge GP Equity Interest” means the Equity Interests in Emerge GP, as in existence
immediately prior to the Effective Date.

       “Old Emerge LP Equity Interest” means the Equity Interests in Emerge LP, as in existence
immediately prior to the Effective Date.

      “Old GP/LP Equity Interests” means, collectively, the Old Emerge GP Equity Interests and the
Old Emerge LP Equity Interests.

        “Old GP/LP Objection Deadline” means, with respect to any Old GP/LP Equity Interest, the later
of (a) one hundred eighty (180) days after the Effective Date or (b) such other date as may be fixed by
Final Order of the Bankruptcy Court for objecting to such Old GP/LP Equity Interest.

        “Old GP/LP Record Date” means [______], 2019.

        “Ordinary Course Professionals Order” means that certain [Order Authorizing the Debtors to
Employ and Compensate Certain Professionals in the Ordinary Course of Business Nunc Pro Tunc to the
Petition Date], entered by the Bankruptcy Court in the Chapter 11 Cases (Docket No. [__]), as amended,
supplemented, or modified from time to time.

        “Other Priority Claim” means any Claim accorded priority in right of payment under section
507(a) of the Bankruptcy Code, other than a Priority Tax Claim or an Administrative Claim.

        “Other Secured Claim” means any Secured Claim other than an Administrative Claim, DIP
Credit Agreement Claim, Secured Tax Claim, or Prepetition Debt Claim.




                                                     13
               Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 19 of 69



         “Person” means a “person” as defined in section 101(41) of the Bankruptcy Code and also
includes any natural person, corporation, general or limited partnership, limited liability company, firm,
trust, association, government, governmental agency or other Entity, whether acting in an individual,
fiduciary or other capacity.

         “Petition Date” means July 15, 2019, the date on which the Debtors commenced the Chapter 11
Cases.

       “Plan” means this Joint Plan of Reorganization for Emerge Energy Services LP and its Affiliated
Debtors Under Chapter 11 of the Bankruptcy Code, dated [_______], 2019, including the Exhibits and
Plan Schedules and all supplements, appendices, and schedules thereto, either in its present form or as the
same may be amended, supplemented, or modified from time to time.

        “Plan Objection Deadline” means the date and time by which objections to Confirmation and
Consummation of the Plan must be Filed with the Bankruptcy Court and served in accordance with the
Disclosure Statement Order, which date is [_______], 2019 as set forth in the Disclosure Statement Order.

       “Plan Schedule” means a schedule annexed to this Plan or an appendix to the Disclosure
Statement (as amended, modified or otherwise supplemented from time to time).

         “Plan Securities” has the meaning set forth in Article V.J of this Plan.

         “Plan Securities and Documents” has the meaning set forth in Article V.J of this Plan.

         “Plan Supplement” means, collectively, the compilation of documents and forms of documents,
and all exhibits, attachments, schedules, agreements, documents and instruments referred to therein,
ancillary or otherwise, including, without limitation, the Exhibits and Plan Schedules, all of which are
incorporated by reference into, and are an integral part of, this Plan, as all of the same may be amended,
supplemented, or modified from time to time, in a manner in form and substance consistent in all respects
with the Restructuring Support Agreement. The Exhibits and Plan Schedules (or substantially final forms
thereof) shall be Filed with the Bankruptcy Court at least seven (7) days prior to the Plan Objection
Deadline.

         “Prepetition Agents” means, collectively, the Prepetition Credit Agreement Agent and the
Prepetition Notes Agent.

        “Prepetition Credit Agreement” means that certain Second Amended and Restated Revolving
Credit and Security Agreement, dated as of January 5, 2018, by and among Emerge LP, the Emerge LP
Subsidiaries party thereto, the Prepetition Credit Agreement Agent, and the Prepetition Credit Agreement
Lenders, as amended, supplemented, or modified from time to time prior to the Petition Date.

       “Prepetition Credit Agreement Agent” means HPS Investment Partners, LLC, in its capacity as
administrative agent and collateral agent under the Prepetition Credit Agreement.

        “Prepetition Credit Agreement Agent & Lenders Fees and Expenses” means all unpaid reasonable
and documented costs, fees, disbursements, charges and out-of-pocket expenses of the Prepetition Credit
Agreement Agent and the Prepetition Credit Agreement Lenders incurred in connection with the Chapter
11 Cases, including, but not limited to, the reasonable and documented costs, fees, disbursements, charges
and out-of-pocket expenses of the Consenting Creditor Professionals.




                                                      14
              Case 19-11563-KBO           Doc 98        Filed 07/25/19   Page 20 of 69



        “Prepetition Credit Agreement Claims” means any and all Claims arising from, under or in
connection with the Prepetition Credit Agreement (including, without limitation, any and all
“Obligations” as defined therein) or any other Prepetition Loan Document.

      “Prepetition Credit Agreement Lenders” means the lenders party to the Prepetition Credit
Agreement from time to time.

        “Prepetition Credit Agreement Liens” means the Liens securing the payment of the Prepetition
Credit Agreement Claims.

         “Prepetition Debt Claims” means, collectively, the Prepetition Credit Agreement Claims and the
Prepetition Notes Claims.

         “Prepetition Debt Documents” means, collectively, the Prepetition Loan Documents and the
Prepetition Notes Documents.

         “Prepetition Debt Liens” means, collectively, the Prepetition Credit Agreement Liens and the
Prepetition Notes Liens.

         “Prepetition Loan Documents” means, collectively, the Prepetition Credit Agreement and the
Prepetition Security Documents.

        “Prepetition Noteholder” means a Holder of the Prepetition Notes.

         “Prepetition Noteholders Fees and Expenses” means all unpaid reasonable and documented costs,
fees, disbursements, charges and out-of-pocket expenses of the Prepetition Noteholders incurred in
connection with the Chapter 11 Cases, including, but not limited to, the reasonable and documented costs,
fees, disbursements, charges and out-of-pocket expenses of the Consenting Creditors Professionals.

        “Prepetition Notes” means those certain senior secured notes due 2023 issued by certain Debtors
pursuant to the Prepetition Notes Agreement, in an original aggregate principal amount of $215,000,000.

        “Prepetition Notes Agent” means HPS Investment Partners, LLC, in its capacity as administrative
notes agent and collateral agent under the Prepetition Notes Agreement.

         “Prepetition Notes Agreement” means that certain Second Lien Note Purchase Agreement, dated
as of January 5, 2018, by and among Emerge LP, the Emerge LP Subsidiaries party thereto, the
Prepetition Notes Agent, and the Prepetition Noteholders, as amended, supplemented, or modified from
time to time prior to the Petition Date.

         “Prepetition Notes Claims” means any and all Claims arising from, under or in connection with
the Prepetition Notes Agreement (including, without limitation, any and all “Obligations” as defined
therein) or any other Prepetition Notes Document.

      “Prepetition Notes Documents” means, collectively, the Prepetition Notes, the Prepetition Notes
Agreement, and the Prepetition Notes Security Documents.

        “Prepetition Notes Liens” means the Liens securing the payment of the Prepetition Notes Claims.




                                                   15
              Case 19-11563-KBO           Doc 98        Filed 07/25/19    Page 21 of 69



         “Prepetition Notes Security Documents” means the “Security Documents” as defined in the
Prepetition Notes Agreement, in each case as amended, supplemented, or modified from time to time
prior to the Petition Date.

         “Prepetition Security Documents” means the “Security Documents” as defined in the Prepetition
Credit Agreement, in each case as amended, supplemented, or modified from time to time prior to the
Petition Date.

        “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in section
507(a)(8) of the Bankruptcy Code.

        “Pro Rata” means the proportion that (a) the Face Amount of a Claim or Equity Interest in a
particular Class or Classes (or portions thereof, as applicable) bears to (b) the aggregate Face Amount of
all Claims (including Disputed Claims, but excluding Disallowed Claims) or Equity Interests (including
Disputed Equity Interests, but excluding Disallowed Equity Interests) in such Class or Classes (or
portions thereof, as applicable), unless this Plan provides otherwise.

        “Professional” means any Person or Entity retained by the Debtors or any Committee in the
Chapter 11 Cases pursuant to section 327, 328, 363, or 1103 of the Bankruptcy Code (other than an
ordinary course professional pursuant to the Ordinary Course Professionals Order).

        “Professional Fee Claim” means a Claim for Accrued Professional Compensation under sections
328, 330, 331, or 503 of the Bankruptcy Code.

        “Professional Fees Bar Date” means the Business Day that is forty-five (45) days after the
Effective Date or such other date as approved by Final Order of the Bankruptcy Court.

        “Proof of Claim” means a proof of Claim Filed against any Debtor in the Chapter 11 Cases.

         “Registered Record Owners” means, as of the applicable date of determination, the respective
owners of the Prepetition Notes or Old Emerge LP Equity Interests, as applicable, whose holdings thereof
are in their own name.

        “Related Persons” means, with respect to any Person, such Person’s predecessors, successors,
assigns and present and former Affiliates (whether by operation of law or otherwise) and subsidiaries, and
each of their respective current and former officers, directors, principals, employees, shareholders,
members (including ex officio members and managing members), managers, managed accounts or funds,
management companies, fund advisors, advisory or subcommittee board members, partners, agents,
financial advisors, attorneys, accountants, investment bankers, investment advisors, consultants,
representatives, and other professionals, in each case acting in such capacity at any time on or after the
date of the Restructuring Support Agreement, and any Person claiming by or through any of them,
including such Related Persons’ respective heirs, executors, estates, servants, and nominees; provided,
however, that no insurer of any Debtor shall constitute a Related Person.

        “Release” means the release given by the Releasing Parties to the Released Parties as set forth in
Article X.B hereof.

         “Released and Settled Claims” means all Claims and Causes of Action made, or which could
have been made, on or on behalf of any of the Debtors against the Prepetition Revolver Agent, the
Prepetition Revolving Lenders, the Prepetition Note Agent, or the Prepetition Noteholders, or any of their



                                                   16
               Case 19-11563-KBO            Doc 98         Filed 07/25/19     Page 22 of 69



respective affiliates, agents, attorneys, advisors, professionals, officers, directors, and employees, in their
respective capacities as such.

        “Released Party” means, collectively: (a) the Debtors; (b) the Reorganized Debtors; (c) the
Committee and the members thereof in their capacity as such; (d) the Prepetition Credit Agreement Agent
and the Releasing Prepetition Credit Agreement Lenders; (e) the DIP Credit Agreement Agent and the
DIP Credit Agreement Lenders; (f) the Prepetition Notes Agent and the Releasing Prepetition
Noteholders; (g) the Releasing Old Emerge LP Equity Holders, and in each case the respective Related
Persons of each of the foregoing Entities.

        “Releasing Old Emerge LP Equity Holders” means, collectively, (i) each Consenting Equity
Holder and (ii) any other Holder of an Old Emerge LP Equity Interest that does not affirmatively opt out
of the Third Party Release as provided on its respective Ballot.

         “Releasing Prepetition Credit Agreement Lenders” means, collectively, (i) each Consenting
Prepetition Credit Agreement Lender and (ii) any other Prepetition Credit Agreement Lender that does
not affirmatively opt out of the Third Party Release as provided on its respective Ballot.

        “Releasing Prepetition Noteholders” means, collectively, (i) each Consenting Prepetition
Noteholder and (ii) any other Prepetition Noteholder that does not affirmatively opt out of the Third Party
Release as provided on its respective Ballot.

        “Releasing Party” has the meaning set forth in Article X.B hereof.

        “Reorganized Debtors” means, subject to the Restructuring Transactions, the Debtors as
reorganized or dissolved pursuant to this Plan on or after the Effective Date, and, solely with respect to
the reorganized entities, their respective successors.

        “Reorganized Emerge LP” means, subject to the Restructuring Transactions, Emerge Energy
Services LP, as reorganized pursuant to this Plan on or after the Effective Date, and its successors.

        “Restricted Holders” has the meaning set forth in Article V.J of this Plan.

        “Restructuring Documents” means, collectively, the documents and agreements (and the exhibits,
schedules, annexes and supplements thereto) necessary to implement, or entered into in connection with,
this Plan, including, without limitation, the Plan Supplement, the Exhibits, the Plan Schedules, the
Amended/New Organizational Documents, the Exit Facility Loan Documents, the New Second Lien
Notes Documents, the New Warrants Agreement, and the Plan Securities and Documents.

         “Restructuring Support Agreement” means that certain Restructuring Support Agreement, dated
as of April 18, 2019, by and among the Debtors, the Consenting Equity Holders, the Consenting
Prepetition Credit Agreement Lenders, and the Consenting Prepetition Noteholders (as amended,
supplemented or modified from time to time).

       “Restructuring Term Sheet” means the term sheet attached as Exhibit A to the Restructuring
Support Agreement.

        “Restructuring Transaction” has the meaning ascribed thereto in Article V.A of this Plan.

         “Scheduled” means with respect to any Claim, the status and amount, if any, of such Claim as set
forth in the Schedules.


                                                      17
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 23 of 69



         “Schedules” means the schedules of assets and liabilities, schedules of Executory Contracts, and
statement of financial affairs Filed by the Debtors pursuant to section 521 of the Bankruptcy Code and the
applicable Bankruptcy Rules, as such Schedules may be amended, modified, or supplemented from time
to time.

        “Secured Claim” means a Claim that is secured by a Lien on property in which any of the
Debtors’ Estates have an interest or that is subject to setoff under section 553 of the Bankruptcy Code, to
the extent of the value of the Claim holder’s interest in such Estate’s interest in such property or to the
extent of the amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the
Bankruptcy Code or, in the case of setoff, pursuant to section 553 of the Bankruptcy Code.

         “Secured Tax Claim” means any Secured Claim which, absent its secured status, would be
entitled to priority in right of payment under section 507(a)(8) of the Bankruptcy Code.

        “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77c-77aa, as now in effect or
hereafter amended, and any similar federal, state or local law.

        “Special Restructuring Committee” means the special restructuring committee of the board of
directors of Emerge GP appointed pursuant to that certain Amended and Restated Charter for the Special
Restructuring Committee, dated as of April 18, 2019.

        “Stamp or Similar Tax” means any stamp tax, recording tax, conveyance fee, intangible or similar
tax, mortgage tax, personal or real property tax, real estate transfer tax, sales tax, use tax, transaction
privilege tax (including, without limitation, such taxes on prime contracting and owner-builder sales),
privilege taxes (including, without limitation, privilege taxes on construction contracting with regard to
speculative builders and owner builders), and other similar taxes or fees imposed or assessed by any
Governmental Unit.

         “Subsequent Distribution” means any distribution of property under this Plan to Holders of
Allowed Claims or Allowed Equity Interests other than the initial distribution given to such Holders on
the Initial Distribution Date.

         “Subsequent Distribution Date” means the last Business Day of the month following the end of
each calendar quarter after the Effective Date; provided, however, that if the Effective Date is within
thirty (30) days of the end of a calendar quarter, then the first Subsequent Distribution Date will be the
last Business Day of the month following the end of the first (1st) calendar quarter after the calendar
quarter in which the Effective Date falls.

        “Third Party Release” has the meaning set forth in Article X.B hereof.

        “Unexercised Equity Interests” means any and all unexercised options, warrants, calls, rights,
puts, awards, commitments, or any other agreements of any character, kind, or nature to acquire an Old
GP/LP Equity Interest, as in existence immediately prior to the Effective Date.

         “Unexpired Lease” means a lease to which any Debtor is a party that is subject to assumption or
rejection under section 365 of the Bankruptcy Code.

         “Unimpaired” means, with respect to a Class of Claims or Equity Interests, a Claim or an Equity
Interest that is “unimpaired” within the meaning of section 1124 of the Bankruptcy Code.




                                                    18
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 24 of 69



         “Unused Cash Reserve Amount” means the remaining Cash, if any, in the Carve Out Reserve
after all obligations and liabilities for which such reserve was established are paid, satisfied, and
discharged in full in Cash or are Disallowed by Final Order in accordance with this Plan.

         “Voting and Claims Agent” means Kurtzman Carson Consultants LLC, in its capacity as
solicitation, notice, claims and balloting agent for the Debtors.

        “Voting Classes” means Classes 5 and 6 only.

         “Voting Deadline” means the date and time by which all Ballots must be received by the Voting
and Claims Agent in accordance with the Disclosure Statement Order, which date is [_______], 2019 as
set forth in the Disclosure Statement Order.

        “Voting Record Date” means the date for determining which Holders of Claims in the Voting
Classes are entitled, as applicable, to receive the Disclosure Statement and to vote to accept or reject this
Plan.

                                               ARTICLE II.

              ADMINISTRATIVE, DIP FACILITY, AND PRIORITY TAX CLAIMS

A.      Administrative Claims

        Subject to sub-paragraph 1 below, on the later of the Effective Date or the date on which an
Administrative Claim becomes an Allowed Administrative Claim, or, in each such case, as soon as
practicable thereafter, each Holder of an Allowed Administrative Claim (other than an Allowed
Professional Fee Claim) will receive, in full satisfaction, settlement, discharge and release of, and in
exchange for, such Claim either (i) Cash equal to the amount of such Allowed Administrative Claim; or
(ii) such other less favorable treatment as to which the Debtors (with the consent of the Majority
Noteholders in the manner set forth in the Restructuring Support Agreement) or Reorganized Debtors, as
applicable, and the Holder of such Allowed Administrative Claim shall have agreed upon in writing;
provided, however, that Administrative Claims incurred by any Debtor in the ordinary course of business
may be paid in the ordinary course of business by such applicable Debtor or Reorganized Debtor in
accordance with such applicable terms and conditions relating thereto without further notice to or order of
the Bankruptcy Court.

        1. Bar Date for Administrative Claims

         Except as otherwise provided in this Plan and section 503(b)(1)(D) of the Bankruptcy Code,
unless previously Filed or paid, requests for payment of Administrative Claims must be Filed and served
on the Reorganized Debtors pursuant to the procedures specified in the Confirmation Order and the notice
of entry of the Confirmation Order or the occurrence of the Effective Date (as applicable) no later than the
Administrative Claims Bar Date; provided that the foregoing shall not apply to either the Holders of
Claims arising under section 503(b)(1)(D) of the Bankruptcy Code or the Bankruptcy Court or United
States Trustee as the Holders of Administrative Claims. Holders of Administrative Claims that are
required to File and serve a request for payment of such Administrative Claims that do not File and serve
such a request by the Administrative Claims Bar Date shall be forever barred, estopped and enjoined from
asserting such Administrative Claims against the Debtors, the Reorganized Debtors and their respective
Estates and property and such Administrative Claims shall be deemed discharged as of the Effective Date.
All such Claims shall, as of the Effective Date, be subject to the permanent injunction set forth in Article
X.G hereof. Nothing in this Article II.A shall limit, alter, or impair the terms and conditions of the


                                                     19
               Case 19-11563-KBO            Doc 98         Filed 07/25/19     Page 25 of 69



Claims Bar Date Order with respect to the Claims Bar Date for filing administrative expense claims
arising under Section 503(b)(9) of the Bankruptcy Code.

        Objections to such requests must be Filed and served on the Reorganized Debtors and the
requesting party by the later of (a) 120 days after the Effective Date and (b) 60 days after the Filing of the
applicable request for payment of Administrative Claims, if applicable, as the same may be modified or
extended from time to time by Final Order of the Bankruptcy Court.

        2. Professional Fee Claims

        Professionals or other Entities asserting a Professional Fee Claim for services rendered before the
Effective Date must File and serve on the Reorganized Debtors and such other Entities who are
designated in the Confirmation Order an application for final allowance of such Professional Fee Claim
no later than the Professional Fees Bar Date; provided that, on or about the Effective Date, holders of
Professional Fee Claims shall provide a reasonable estimate of their unpaid Professional Fee Claims
incurred in rendering services to the Debtors or their Estates as of the Effective Date (the “Professional
Fee Claims Estimate”); provided further that such estimate shall not be deemed to limit the amount of
the fees and expenses that are the subject of the Professional’s request for payment of Professional Fee
Claims.

         Objections to any Professional Fee Claim must be Filed and served on the Reorganized Debtors
and the requesting party by no later than thirty (30) days after the Filing of the applicable final request for
payment of the Professional Fee Claim. Each Holder of an Allowed Professional Fee Claim shall be paid
in full in Cash by the Reorganized Debtors, including from the Carve Out Reserve, within five (5)
Business Days after entry of the order approving such Allowed Professional Fee Claim. The Reorganized
Debtors shall not commingle any funds contained in the Carve Out Reserve and shall use such funds to
pay only the Professional Fee Claims, as and when allowed by order of the Bankruptcy Court.
Notwithstanding anything to the contrary contained in this Plan, the failure of the Carve Out Reserve to
satisfy in full the Professional Fee Claims shall not, in any way, operate or be construed as a cap or
limitation on the amount of Professional Fee Claims due and payable by the Reorganized Debtors. The
Carve Out Reserve shall be maintained in trust for the Professionals and shall not be considered property
of the Debtors’ Estates; provided that the Reorganized Debtors shall have a reversionary interest in the
Unused Cash Reserve Amount. To the extent that funds held in the Carve Out Reserve do not or are
unable to satisfy the full amount of the Allowed Professional Fee Claims, such Professionals shall have an
Allowed Administrative Claim for any such deficiency, which shall be satisfied in full in Cash accordance
with Article II.A of this Plan.

        The Reorganized Debtors shall pay Professionals in the ordinary course of business for any work
performed after the Effective Date, including those reasonable and documented fees and expenses
incurred by Professionals in connection with the implementation and consummation of this Plan, in each
case without further application or notice to or order of the Bankruptcy Court; provided, further, that any
professional who may receive compensation or reimbursement of expenses pursuant to the Ordinary
Course Professionals Order may continue to receive such compensation and reimbursement of expenses
from the Debtors and Reorganized Debtors for services rendered before the Effective Date pursuant to the
Ordinary Course Professionals Order, in each case without further application or notice to or order of the
Bankruptcy Court.

B.      DIP Credit Agreement Claims

        On the Effective Date, the Allowed DIP Credit Agreement Claims shall, in full satisfaction,
settlement, discharge and release of, and in exchange for, such Claims be indefeasibly paid in full in Cash


                                                      20
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 26 of 69



from the proceeds of the Exit Facility Loans, and the DIP Credit Agreement Liens shall be deemed
discharged, released, and terminated for all purposes without further action of or by any Person or Entity.

        The Debtors’ contingent or unliquidated obligations under the DIP Loan Documents, to the extent
not indefeasibly paid in full in Cash on the Effective Date or otherwise satisfied by the Debtors in a
manner acceptable to the DIP Facility Agent, any affected DIP Credit Agreement Lender, or any other
holder of a DIP Credit Agreement Claim, as applicable, shall survive the Effective Date and shall not be
released or discharged pursuant to this Plan or Confirmation Order, notwithstanding any provision hereof
or thereof to the contrary.

C.      Priority Tax Claims

         Subject to Article VIII hereof, on, or as soon as reasonably practicable after, the later of (i) the
Initial Distribution Date if such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective
Date or (ii) the next Subsequent Distribution Date after the date on which such Priority Tax Claim
becomes an Allowed Priority Tax Claim, each Holder of an Allowed Priority Tax Claim shall receive in
full satisfaction, settlement, discharge and release of, and in exchange for, such Allowed Priority Tax
Claim, at the election of the Debtors or Reorganized Debtors, as applicable: (A) Cash equal to the
amount of such Allowed Priority Tax Claim; (B) such other less favorable treatment as to which the
Debtors (with the consent of the Majority Noteholders in the manner set forth in the Restructuring
Support Agreement) or Reorganized Debtors, as applicable, and the Holder of such Allowed Priority Tax
Claim shall have agreed upon in writing; (C) such other treatment such that it will not be Impaired
pursuant to section 1124 of the Bankruptcy Code or (D) pursuant to and in accordance with sections
1129(a)(9)(C) and 1129(a)(9)(D) of the Bankruptcy Code, Cash in an aggregate amount of such Allowed
Priority Tax Claim payable in regular installment payments over a period ending not more than five (5)
years after the Petition Date, plus simple interest at the rate required by applicable non-bankruptcy law on
any outstanding balance from the Effective Date, or such lesser rate as is agreed to in writing by a
particular taxing authority and the Debtors or Reorganized Debtors, as applicable, pursuant to section
1129(a)(9)(C) of the Bankruptcy Code; provided, however, that Priority Tax Claims incurred by any
Debtor in the ordinary course of business may be paid in the ordinary course of business by such
applicable Debtor or Reorganized Debtor in accordance with such applicable terms and conditions
relating thereto without further notice to or order of the Bankruptcy Court. Any installment payments to
be made under clause (C) or (D) above shall be made in equal quarterly Cash payments beginning on the
first applicable Subsequent Distribution Date, and continuing on each Subsequent Distribution Date
thereafter until payment in full of the applicable Allowed Priority Tax Claim.

                                              ARTICLE III.

                            CLASSIFICATION AND TREATMENT
                       OF CLASSIFIED CLAIMS AND EQUITY INTERESTS

A.      Summary

         This Plan constitutes a separate plan of reorganization for each Debtor. All Claims and Equity
Interests, except Administrative Claims, DIP Credit Agreement Claims, and Priority Tax Claims, are
placed in the Classes set forth below. For all purposes under this Plan, each Class will contain sub-Classes
for each of the Debtors (i.e., there will be ten Classes for each Debtor); provided, that any Class that is
vacant as to a particular Debtor will be treated in accordance with Article III.D below.

         The categories of Claims and Equity Interests listed below classify Claims and Equity Interests
for all purposes, including, without limitation, for voting, confirmation and distribution pursuant hereto


                                                     21
              Case 19-11563-KBO            Doc 98         Filed 07/25/19      Page 27 of 69



and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. This Plan deems a Claim or
Equity Interest to be classified in a particular Class only to the extent that the Claim or Equity Interest
qualifies within the description of that Class and shall be deemed classified in a different Class to the
extent that any remaining portion of such Claim or Equity Interest qualifies within the description of such
different Class. A Claim or Equity Interest is in a particular Class only to the extent that any such Claim
or Equity Interest is Allowed in that Class and has not been paid, released, Disallowed or otherwise
settled prior to the Effective Date.

        Summary of Classification and Treatment of Classified Claims and Equity Interests

     Class               Claim/Equity Interest                      Status               Voting Rights

       1.     Other Priority Claims                               Unimpaired          Deemed to Accept

       2.     Other Secured Claims                                Unimpaired          Deemed to Accept

       3.     Secured Tax Claims                                  Unimpaired          Deemed to Accept

       4.     Prepetition Credit Agreement Claims                 Unimpaired          Deemed to Accept

       5.     Prepetition Notes Claims                             Impaired            Entitled to Vote

       6.     General Unsecured Claims                             Impaired            Entitled to Vote

       7.     Intercompany Claims                                 Unimpaired          Deemed to Accept

       8.     Old Emerge GP Equity Interests                       Impaired           Deemed to Reject

       9.     Old Emerge LP Equity Interests                       Impaired           Deemed to Reject

       10.    Old Affiliate Equity Interests                      Unimpaired          Deemed to Accept

B.      Classification and Treatment of Claims and Equity Interests

        1. Class 1 - Other Priority Claims

                (a)     Classification: Class 1 consists of the Other Priority Claims.

                (b)     Treatment: Subject to Article VIII hereof, on, or as soon as reasonably
                        practicable after, the later of (i) the Initial Distribution Date if such Class 1 Claim
                        is an Allowed Class 1 Claim as of the Effective Date or (ii) the next Subsequent
                        Distribution Date after the date on which such Class 1 Claim becomes an
                        Allowed Class 1 Claim, each Holder of an Allowed Class 1 Claim shall receive
                        in full satisfaction, settlement, discharge and release of, and in exchange for, such
                        Allowed Class 1 Claim, at the election of the Debtors or Reorganized Debtors, as
                        applicable (with the consent of the Majority Noteholders in the manner set forth
                        in the Restructuring Support Agreement): (A) Cash equal to the amount of such
                        Allowed Class 1 Claim; (B) such other less favorable treatment as to which the
                        Debtors or Reorganized Debtors, as applicable, and the Holder of such Allowed
                        Class 1 Claim shall have agreed upon in writing; or (C) such other treatment such


                                                     22
     Case 19-11563-KBO            Doc 98         Filed 07/25/19     Page 28 of 69



               that it will not be impaired pursuant to section 1124 of the Bankruptcy Code;
               provided, however, that Class 1 Claims incurred by any Debtor in the ordinary
               course of business may be paid in the ordinary course of business by such
               applicable Debtor or Reorganized Debtor in accordance with the terms and
               conditions of any agreements relating thereto without further notice to or order of
               the Bankruptcy Court.

       (c)     Voting: Class 1 is an Unimpaired Class, and the Holders of Claims in Class 1 are
               conclusively deemed to have accepted this Plan pursuant to section 1126(f) of the
               Bankruptcy Code. Therefore, the Holders of Claims in Class 1 are not entitled to
               vote to accept or reject this Plan.

2. Class 2 - Other Secured Claims

       (a)     Classification: Class 2 consists of the Other Secured Claims. Class 2 consists of
               separate subclasses for each Other Secured Claim.

       (b)     Treatment: Subject to Article VIII hereof, on, or as soon as reasonably
               practicable after, the later of (i) the Initial Distribution Date if such Class 2 Claim
               is an Allowed Class 2 Claim as of the Effective Date or (ii) the next Subsequent
               Distribution Date after the date on which such Class 2 Claim becomes an
               Allowed Class 2 Claim, each Holder of an Allowed Class 2 Claim shall receive
               in full satisfaction, settlement, discharge and release of, and in exchange for, such
               Allowed Class 2 Claim, at the election of the Debtors or Reorganized Debtors, as
               applicable (with the consent of the Majority Noteholders in the manner set forth
               in the Restructuring Support Agreement): (A) Cash equal to the amount of such
               Allowed Class 2 Claim; (B) such other less favorable treatment as to which the
               Debtors or Reorganized Debtors, as applicable, and the Holder of such Allowed
               Class 2 Claim shall have agreed upon in writing; (C) the Collateral securing such
               Allowed Class 2 Claim; or (D) such other treatment such that it will not be
               impaired pursuant to section 1124 of the Bankruptcy Code; provided, however,
               that Class 2 Claims incurred by any Debtor in the ordinary course of business
               may be paid in the ordinary course of business by such applicable Debtor or
               Reorganized Debtor in accordance with the terms and conditions of any
               agreements relating thereto without further notice to or order of the Bankruptcy
               Court.

       (c)     Voting: Class 2 is an Unimpaired Class, and the Holders of Claims in Class 2 are
               conclusively deemed to have accepted this Plan pursuant to section 1126(f) of the
               Bankruptcy Code. Therefore, the Holders of Claims in Class 2 are not entitled to
               vote to accept or reject this Plan.

3. Class 3 - Secured Tax Claims

       (a)     Classification: Class 3 consists of the Secured Tax Claims.

       (b)     Treatment: Subject to Article VIII hereof, on, or as soon as reasonably
               practicable after, the later of (i) the Initial Distribution Date if such Class 3 Claim
               is an Allowed Class 3 Claim as of the Effective Date or (ii) the next Subsequent
               Distribution Date after the date on which such Class 3 Claim becomes an
               Allowed Class 3 Claim, each Holder of an Allowed Class 3 Claim shall receive


                                            23
                  Case 19-11563-KBO               Doc 98          Filed 07/25/19       Page 29 of 69



                             in full satisfaction, settlement, discharge and release of, and in exchange for, such
                             Allowed Class 3 Claim, at the election of the Debtors or Reorganized Debtors, as
                             applicable (with the consent of the Majority Noteholders in the manner set forth
                             in the Restructuring Support Agreement): (A) Cash equal to the amount of such
                             Allowed Class 3 Claim; (B) such other less favorable treatment as to which the
                             Debtors or Reorganized Debtors, as applicable, and the Holder of such Allowed
                             Class 3 Claim shall have agreed upon in writing; (C) the Collateral securing such
                             Allowed Class 3 Claim; (D) such other treatment such that it will not be impaired
                             pursuant to section 1124 of the Bankruptcy Code or (E) pursuant to and in
                             accordance with sections 1129(a)(9)(C) and 1129(a)(9)(D) of the Bankruptcy
                             Code, Cash in an aggregate amount of such Allowed Class 3 Claim payable in
                             regular installment payments over a period ending not more than five (5) years
                             after the Petition Date, plus simple interest at the rate required by applicable non-
                             bankruptcy law on any outstanding balance from the Effective Date, or such
                             lesser rate as is agreed to in writing by a particular taxing authority and the
                             Debtors or Reorganized Debtors, as applicable, pursuant to section 1129(a)(9)(C)
                             of the Bankruptcy Code; provided, however, that Class 3 Claims incurred by any
                             Debtor in the ordinary course of business may be paid in the ordinary course of
                             business by such applicable Debtor or Reorganized Debtor in accordance with
                             such applicable terms and conditions relating thereto without further notice to or
                             order of the Bankruptcy Court. Any installment payments to be made under
                             clause (D) or (E) above shall be made in equal quarterly Cash payments
                             beginning on the first applicable Subsequent Distribution Date, and continuing
                             on each Subsequent Distribution Date thereafter until payment in full of the
                             applicable Allowed Class 3 Claim.

                    (c)      Voting: Class 3 is an Unimpaired Class, and the Holders of Claims in Class 3
                             shall be conclusively deemed to have accepted this Plan pursuant to section
                             1126(f) of the Bankruptcy Code. Therefore, Holders of Claims in Class 3 are not
                             entitled to vote to accept or reject this Plan.

           4. Class 4 - Prepetition Credit Agreement Claims

                    (a)      Classification: Class 4 consists of the Prepetition Credit Agreement Claims.

                    (b)      Allowance: The Prepetition Credit Agreement Claims are deemed Allowed
                             Secured Claims in the aggregate principal amount of $[_____], plus contingent
                             reimbursement obligations in respect of outstanding letters of credit in an
                             aggregate face amount equal to $[___], and any accrued and unpaid interest
                             payable on such amounts through the Effective Date.2

                    (c)      Treatment: On the Effective Date, the Allowed Prepetition Credit Agreement
                             Claims shall, in full satisfaction, settlement, discharge and release of, and in
                             exchange for, such Claims, be indefeasibly paid in full in Cash from the proceeds
                             of the Exit Facility Loans. Without affecting any additional Liens required by
                             the Exit Facility Loan Documents, each Prepetition Credit Agreement Lien is
                             stipulated to as valid, perfected, and not avoidable, and shall secure the Exit

2
    The Allowed amount excludes any accrued fees, costs, and expenses (including all Prepetition Credit Agreement Agent and
    Lenders Fees and Expenses) that will be paid in cash on the Effective Date pursuant to this Plan or otherwise after the
    Effective Date in accordance with Article V.T of this Plan.


                                                             24
                 Case 19-11563-KBO                  Doc 98           Filed 07/25/19         Page 30 of 69



                             Facility Loans and all other indebtedness and obligations of the Reorganized
                             Debtors under or secured by the Exit Facility Loan Documents and each such
                             Prepetition Credit Agreement Lien shall, as of the Effective Date, (i) be ratified,
                             reaffirmed and deemed granted by the Reorganized Debtors, (ii) remain attached
                             to the Reorganized Debtors’ assets and property, and (iii) not be, and shall not be
                             deemed to be, impaired, discharged or released by this Plan, the Confirmation
                             Order or on account of the Confirmation or Consummation of this Plan.

                   (d)       Voting: Class 4 is an Unimpaired Class, and the Holders of Claims in Class 4
                             shall be conclusively deemed to have accepted this Plan pursuant to section
                             1126(f) of the Bankruptcy Code. Therefore, Holders of Claims in Class 4 are not
                             entitled to vote to accept or reject this Plan.

         5. Class 5 - Prepetition Notes Claims

                   (a)       Classification: Class 5 consists of the Prepetition Notes Claims.

                   (b)       Allowance: The Prepetition Notes Claims are deemed Allowed in the aggregate
                             principal amount of $[______], plus accrued and unpaid interest thereon as of the
                             Petition Date.3

                   (c)       Treatment:

                             (i)        IF AND ONLY IF CLASS 6 VOTES TO ACCEPT THIS PLAN,
                                        THE FOLLOWING TREATMENT:

                                     On the Effective Date and in addition to the reimbursement described in
                             Article V.T of this Plan, each Holder of an Allowed Prepetition Notes Claim
                             shall receive, in full satisfaction, settlement, discharge and release of, and in
                             exchange for, such Claim, its Pro Rata share of (1) the New Second Lien Notes;
                             (2) the New Emerge GP Equity Interests; and (3) ninety-five percent (95%) of
                             the New Limited Partnership Interests issued and outstanding on the Effective
                             Date prior to dilution by the New Management Incentive Plan Equity and any
                             issuances pursuant to the New Warrants.

                                      Without affecting any additional Liens required by the Exit Facility Loan
                             Documents, each Prepetition Note Lien is stipulated to as valid, perfected, and
                             not avoidable, and shall secure the Exit Facility Loans and all other indebtedness
                             and obligations of the Reorganized Debtors under or secured by the Exit Facility
                             Loan Documents and each such Prepetition Note Lien shall, as of the Effective
                             Date, (i) be ratified, reaffirmed and deemed granted by the Reorganized Debtors,
                             (ii) remain attached to the Reorganized Debtors’ assets and property, and (iii) not
                             be, and shall not be deemed to be, impaired, discharged or released by this Plan,
                             the Confirmation Order or on account of the Confirmation or Consummation of
                             this Plan.

                             (ii)       IF AND ONLY IF CLASS 6 VOTES TO REJECT THIS PLAN,
                                        THE FOLLOWING TREATMENT:
3 The Allowed amount excludes any unpaid Prepetition Noteholders Fees and Expenses that will be paid in Cash on the
  Effective Date pursuant to this Plan or otherwise after the Effective Date in accordance with Article V.T of this Plan.



                                                                25
     Case 19-11563-KBO           Doc 98        Filed 07/25/19     Page 31 of 69



                      On the Effective Date and in addition to the reimbursement described in
              Article V.T of this Plan, each Holder of an Allowed Prepetition Notes Claim
              shall receive, in full satisfaction, settlement, discharge and release of, and in
              exchange for, such Claim, its Pro Rata share of (1) the New Second Lien Notes;
              (2) the New Emerge GP Equity Interests; and (3) one hundred percent (100%) of
              the New Limited Partnership Interests issued and outstanding on the Effective
              Date prior to dilution by the New Management Incentive Plan Equity.

       (d)    Voting: Class 5 is Impaired, and Holders of Claims in Class 5 are entitled to vote
              to accept or reject this Plan.

6. Class 6 – General Unsecured Claims

       (a)    Classification: Class 6 consists of the General Unsecured Claims.

       (b)    Treatment:

              (i)     IF AND ONLY IF CLASS 6 VOTES TO ACCEPT THIS PLAN,
                      THE FOLLOWING TREATMENT:

                       Subject to Article VIII hereof, on, or as soon as reasonably practicable
              after, the later of (i) the Initial Distribution Date if such Class 6 Claim is an
              Allowed Class 6 Claim as of the Effective Date or (ii) the next Subsequent
              Distribution Date after the date on which such Class 6 Claim becomes an
              Allowed Class 6 Claim, each Holder of an Allowed Class 6 Claim shall receive,
              in full satisfaction, settlement, discharge and release of, and in exchange for, such
              Allowed Class 6 Claim, its Pro Rata share of (1) 5.0% of the New Limited
              Partnership Interests issued and outstanding on the Effective Date prior to
              dilution by the New Management Incentive Plan Equity and any issuances
              pursuant to the New Warrants and (2) New Warrants representing 10.0% of the
              New Limited Partnership Interests issued and outstanding on the Effective Date
              prior to dilution by the New Management Incentive Plan Equity.

       The foregoing is offered solely for settlement purposes as set forth in Article V
       hereof, and such settlement is conditioned on (i) Class 6 voting to accept this Plan,
       (ii) the Bankruptcy Court confirming this Plan, and (iii) the occurrence of the
       Effective Date.

              (ii)    IF AND ONLY IF CLASS 6 VOTES TO REJECT THIS PLAN,
                      THE FOLLOWING TREATMENT:

                       On the Effective Date, the Class 6 Claims will be discharged without
              further notice to, approval of or action by any Person or Entity, and each Holder
              of a Class 6 Claim shall not receive any distribution or retain any property on
              account of such Class 6 Claim.

       (c)    Voting: Class 6 is Impaired, and Holders of Claims in Class 6 are entitled to vote
              to accept or reject this Plan.

7. Class 7 – Intercompany Claims



                                          26
                 Case 19-11563-KBO             Doc 98         Filed 07/25/19     Page 32 of 69



                   (a)     Classification: Class 7 consists of the Intercompany Claims.

                   (b)     Treatment: Subject to the Restructuring Transactions, the Intercompany Claims
                           shall be reinstated, compromised, or cancelled, at the option of the relevant
                           Holder of such Intercompany Claims with the consent of the Majority
                           Noteholders in the manner set forth in the Restructuring Support Agreement.

                   (c)     Voting: Class 7 is an Unimpaired Class, and the Holders of Claims in Class 7
                           shall be conclusively deemed to have accepted this Plan pursuant to section
                           1126(f) of the Bankruptcy Code. Therefore, Holders of Claims in Class 7 are not
                           entitled to vote to accept or reject this Plan.4

          8. Class 8 - Old Emerge GP Equity Interests

                   (a)     Classification: Class 8 consists of the Old Emerge GP Equity Interests.

                   (b)     Treatment: On the Effective Date, the Old Emerge GP Equity Interests will be
                           cancelled without further notice to, approval of or action by any Person or Entity,
                           and each Holder of an Old Emerge GP Equity Interest shall not receive any
                           distribution or retain any property on account of such Old Emerge GP Equity
                           Interests.

                   (c)     Voting: Class 8 is an Impaired Class, and the Holders of Equity Interests in Class
                           8 will be conclusively deemed to have rejected this Plan pursuant to section
                           1126(g) of the Bankruptcy Code. Therefore, Holders of Equity Interests in Class
                           8 will not be entitled to vote to accept or reject this Plan.

          9. Class 9 - Old Emerge LP Equity Interests

                   (a)     Classification: Class 9 consists of the Old Emerge LP Equity Interests.

                   (b)     Treatment:

                           (i)      IF AND ONLY IF CLASS 6 VOTES TO ACCEPT THIS PLAN,
                                    THE FOLLOWING TREATMENT:

                                    Subject to Article VIII hereof, on, or as soon as reasonably practicable
                           after, the later of (i) the Initial Distribution Date if such Class 9 Equity Interest is
                           an Allowed Class 9 Equity Interest as of the Effective Date or (ii) the next
                           Subsequent Distribution Date after the date on which such Class 9 Equity Interest
                           becomes an Allowed Class 9 Equity Interest, each Holder of an Allowed Class 9
                           Equity Interest shall receive, in full satisfaction, settlement, discharge and release
                           of, and in exchange for, such Allowed Class 9 Equity Interest, its Pro Rata share
                           of New Warrants representing 5.0% of the New Limited Partnership Interests
                           issued and outstanding on the Effective Date prior to dilution by the New
                           Management Incentive Plan Equity.



4   Even if Class 7 was an Impaired Class, because the Holders of such Claims are Affiliate Debtors, the Holders of
    such Claims would be conclusively deemed to have accepted this Plan since they are each plan proponents.


                                                         27
              Case 19-11563-KBO             Doc 98        Filed 07/25/19     Page 33 of 69



                The foregoing is offered solely for settlement purposes as set forth in Article V
                hereof, and such settlement is conditioned on (i) Class 6 voting to accept this Plan,
                (ii) the Bankruptcy Court confirming this Plan, and (iii) the occurrence of the
                Effective Date.

                         (ii)    IF AND ONLY IF CLASS 6 VOTES TO REJECT THIS PLAN,
                                 THE FOLLOWING TREATMENT:

                                  On the Effective Date, the Old Emerge LP Equity Interests will be
                         cancelled without further notice to, approval of or action by any Person or Entity,
                         and each Holder of an Old Emerge LP Equity Interest shall not receive any
                         distribution or retain any property on account of such Old Emerge LP Equity
                         Interests.

                 (c)      Voting: Class 9 is an Impaired Class and, if the Class of General Unsecured
                          Claims in Class 6 votes to reject this Plan, the Holders of Equity Interests in this
                          Class 9 shall receive no distribution under this Plan on account of such Equity
                          Interests. Therefore, the Holders of Equity Interests in this Class 9 are deemed
                          to have rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code
                          and are not entitled to vote to accept or reject this Plan. Such Holders of Equity
                          Interests will, however, receive a Ballot to allow such Holders to affirmatively
                          opt-out of the Third Party Release if they so choose.

        10. Class 10 - Old Affiliate Equity Interests in any Emerge LP Subsidiary

                (a)      Classification: Class 10 consists of the Old Affiliate Equity Interests in any
                         Emerge LP Subsidiary.

                (b)      Treatment: Subject to the Restructuring Transactions, the Old Affiliate Equity
                         Interests shall remain effective and outstanding on the Effective Date and shall be
                         owned and held by the same applicable Person(s) that held and/or owned such
                         Old Affiliate Equity Interests immediately prior to the Effective Date.

                (c)      Voting: Class 10 is an Unimpaired Class, and the Holders of the Old Affiliate
                         Equity Interests in Class 10 are conclusively deemed to have accepted this Plan
                         pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the Holders of
                         the Old Affiliate Equity Interests in Class 11 are not entitled to vote to accept or
                         reject this Plan.

C.      Special Provision Governing Unimpaired Claims

        Except as otherwise provided herein, nothing under this Plan shall affect or limit the Debtors’ or
the Reorganized Debtors’ rights and defenses (whether legal or equitable) in respect of any Unimpaired
Claims, including, without limitation, all rights in respect of legal and equitable defenses to or setoffs or
recoupments against any such Unimpaired Claims.

D.      Elimination of Vacant Classes

          Any Class of Claims that is not occupied as of the commencement of the Confirmation Hearing
by an Allowed Claim or a claim temporarily allowed under Bankruptcy Rule 3018, or as to which no vote
is cast, shall be deemed eliminated from this Plan for purposes of voting to accept or reject this Plan and


                                                     28
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 34 of 69



for purposes of determining acceptance or rejection of this Plan by such Class pursuant to section
1129(a)(8) of the Bankruptcy Code.

                                              ARTICLE IV.

                          ACCEPTANCE OR REJECTION OF THE PLAN

A.      Presumed Acceptance of Plan

        Classes 1, 2, 3, 4, 7, and 10 are Unimpaired under this Plan. Therefore, the Holders of Claims or
Equity Interests in such Classes are deemed to have accepted this Plan pursuant to section 1126(f) of the
Bankruptcy Code and are not entitled to vote to accept or reject this Plan.

B.      Presumed Rejection of Plan

        Class 8 Equity Interests is Impaired and shall receive no distribution under this Plan on account of
such Equity Interests. Therefore, the Holders of Equity Interests in such Class are deemed to have
rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code and are not entitled to vote to
accept or reject this Plan.

        Class 9 Equity Interests is Impaired and, if the Class of General Unsecured Claims votes to reject
this Plan, the Holders of Equity Interests in such Class shall receive no distribution under this Plan on
account of such Equity Interests. Therefore, the Holders of Equity Interests in such Class are deemed to
have rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code and are not entitled to vote to
accept or reject this Plan. Such Holders of Equity Interests will, however, receive a Ballot to allow such
Holders to affirmatively opt-out of the Third Party Release.

C.      Voting Classes

       Classes 5 and 6 are Impaired under this Plan. The Holders of Claims in such Classes as of the
Voting Record Date are entitled to vote to accept or reject this Plan.

D.      Acceptance by Impaired Class of Claims

        Pursuant to section 1126(c) of the Bankruptcy Code and except as otherwise provided in section
1126(e) of the Bankruptcy Code, an Impaired Class of Claims has accepted this Plan if the Holders of at
least two-thirds (2/3) in dollar amount and more than one-half (1/2) in number of the Allowed Claims in
such Class actually voting have voted to accept this Plan.

E.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

        Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
acceptance of this Plan by either Class 5 or 6. The Debtors request confirmation of this Plan under
section 1129(b) of the Bankruptcy Code with respect to any Impaired Class that does not accept this Plan
pursuant to section 1126 of the Bankruptcy Code. The Debtors reserve the right to modify this Plan or
any Exhibit or Plan Schedule in order to satisfy the requirements of section 1129(b) of the Bankruptcy
Code, if necessary.




                                                    29
               Case 19-11563-KBO             Doc 98        Filed 07/25/19     Page 35 of 69



F.      Votes Solicited in Good Faith

        The Debtors have, and upon the Confirmation Date shall be deemed to have, solicited votes on
this Plan from the Voting Classes in good faith and in compliance with the applicable provisions of the
Bankruptcy Code, including, without limitation, sections 1125 and 1126 of the Bankruptcy Code, and any
applicable non-bankruptcy law, rule, or regulation governing the adequacy of disclosure in connection
with the solicitation. Accordingly, the Debtors, the Reorganized Debtors, and each of their respective
Related Parties shall be entitled to, and upon the Confirmation Date are hereby granted, the protections of
section 1125(e) of the Bankruptcy Code.

                                                ARTICLE V.

                          MEANS FOR IMPLEMENTATION OF THE PLAN

A.      Global Settlement

         Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the Plan
incorporates a compromise and settlement of various potential Claims and Causes of Action of the parties
to the Restructuring Support Agreement, in the form of the Global Settlement. The Global Settlement is a
cornerstone of the Plan and necessary to achieve a beneficial and efficient resolution of the Chapter 11
Cases for all parties in interest. The Plan shall be deemed to constitute a motion pursuant to Bankruptcy
Rule 9019, seeking approval of the Global Settlement, and the entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of such motion and each of the compromises or settlements
that comprise the Global Settlement, and the Bankruptcy Court’s findings shall constitute its
determination that such compromises and settlements are within the range of reasonableness, in the best
interests of the Debtors, their Estates, their Creditors, and other parties-in-interest, and fair and equitable.
Pursuant to the Global Settlement, solely if Class 6 votes to accept the Plan, the Majority Noteholders
have agreed to carve-out from their collateral a settlement fund consisting of:

            (1) 5% of the New Limited Partnership Interests, subject to dilution by the New Management
                Incentive Plan Equity and the New Warrants; and

            (2) New Warrants for 15% of the equity of the Reorganized Debtors, subject to dilution by
                the New Management Incentive Plan Equity.

B.      Restructuring Transactions

        Without limiting any rights and remedies of the Debtors or Reorganized Debtors under this Plan
or applicable law, but in all cases subject to the terms and conditions of the Restructuring Documents and
any consents or approvals required thereunder, the entry of the Confirmation Order shall constitute
authorization for the Reorganized Debtors to take, or to cause to be taken, all actions necessary or
appropriate to consummate and implement the provisions of this Plan prior to, on and after the Effective
Date, including such actions as may be necessary or appropriate to effectuate a corporate restructuring of
their respective businesses, to otherwise simplify the overall corporate structure of the Reorganized
Debtors, or to reincorporate certain of the Debtors under the laws of jurisdictions other than the laws of
which the applicable Debtors are presently formed or incorporated. Such restructuring may include one
or more mergers, consolidations, restructures, dispositions, liquidations, dissolutions, or creations of one
or more new Entities, as may be determined by the Debtors or the Reorganized Debtors to be necessary or
appropriate (with the consent of the Majority Noteholders), but in all cases subject to the terms and
conditions of this Plan and the Restructuring Documents and any consents or approvals required
hereunder or thereunder (collectively, the “Restructuring Transactions”).


                                                      30
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 36 of 69



          All such Restructuring Transactions taken, or caused to be taken, shall be deemed to have been
authorized and approved by the Bankruptcy Court. The actions to effectuate the Restructuring
Transactions may include: (i) the execution and delivery of appropriate agreements or other documents of
merger, consolidation, restructuring, disposition, liquidation, or dissolution containing terms that are
consistent with the terms of this Plan and that satisfy the applicable requirements of applicable state law
and such other terms to which the applicable entities may agree; (ii) the execution and delivery of
appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
liability, duty, or obligation on terms consistent with the terms of this Plan and having such other terms to
which the applicable entities may agree; (iii) the filing of appropriate certificates or articles of merger,
consolidation, or dissolution pursuant to applicable state law; (iv) the creation of one or more new
Entities; and (v) all other actions that the applicable entities determine to be necessary or appropriate,
including making filings or recordings that may be required by applicable state law in connection with
such transactions, but in all cases subject to the terms and conditions of this Plan and the Restructuring
Documents and any consents or approvals required thereunder.

C.      Continued Corporate Existence

         Subject to the Restructuring Transactions permitted by Article V.B of this Plan, after the
Effective Date, the Reorganized Debtors (other than Emerge GP) shall continue to exist as separate legal
entities in accordance with the applicable law in the respective jurisdiction in which they are incorporated
or formed and pursuant to their respective certificates or articles of incorporation and by-laws, or other
applicable organizational documents, in effect immediately prior to the Effective Date, except to the
extent such certificates or articles of incorporation and by-laws, or other applicable organizational
documents, are amended, restated or otherwise modified under this Plan. Notwithstanding anything to the
contrary herein, the Claims against a particular Debtor or Reorganized Debtor shall remain the obligations
solely of such Debtor or Reorganized Debtor and shall not become obligations of any other Debtor or
Reorganized Debtor solely by virtue of this Plan or the Chapter 11 Cases.

        As soon as reasonably practicable after the Effective Date, Emerge GP shall wind-down and
dissolve in accordance with applicable law; provided that, the Debtors shall establish a wind-down
reserve to effectuate, and pay the fees, costs, and expenses incurred in connection with, such wind-down
and dissolution in an aggregate amount not to exceed $125,000 (the “Wind-Down Reserve”) without the
consent of the Majority Noteholders in their sole discretion.

        On the Effective Date, Emerge GP shall voluntarily withdraw (and, for the avoidance of doubt,
shall be deemed to have withdrawn) as the general partner of Reorganized Emerge LP and shall in its
place elect (and, for the avoidance of doubt, shall be deemed to have elected) the New General Partner as
the general partner of Reorganized Emerge LP.

D.      Vesting of Assets in the Reorganized Debtors Free and Clear of Liens and Claims

        Except as otherwise expressly provided in this Plan, the Confirmation Order, or any Restructuring
Document, pursuant to sections 1123(a)(5), 1123(b)(3), 1141(b) and (c) and other applicable provisions of
the Bankruptcy Code, on and after the Effective Date, all property and assets of the Estates of the
Debtors, including all claims, rights, and Litigation Claims of the Debtors, and any other assets or
property acquired by the Debtors or the Reorganized Debtors during the Chapter 11 Cases or under or in
connection with this Plan (other than the Carve Out Reserve and any rejected Executory Contracts and/or
Unexpired Leases), shall vest in the Reorganized Debtors free and clear of all Claims, Liens, charges, and
other encumbrances, subject to the Restructuring Transactions and Liens which survive the occurrence of
the Effective Date as described in Article III of this Plan (including, without limitation, each Prepetition
Debt Lien and Liens that secure the Exit Facility Loans). On and after the Effective Date, the


                                                     31
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 37 of 69



Reorganized Debtors may (i) operate their respective businesses, (ii) use, acquire, and dispose of their
respective property and (iii) compromise or settle any Claims, in each case without notice to, supervision
of or approval by the Bankruptcy Court and free and clear of any restrictions of the Bankruptcy Code or
the Bankruptcy Rules, other than restrictions expressly imposed by this Plan or the Confirmation Order.

E.      Exit Facility Loan Documents

         On the Effective Date, the Debtors and the Reorganized Debtors, as applicable, shall be
authorized to execute and deliver, and to consummate the transactions contemplated by, the Exit Facility
Loan Documents, in each case in form and substance acceptable to the Special Restructuring Committee
and the Majority Noteholders in the manner set forth in the Restructuring Support Agreement and without
further notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or
rule or the vote, consent, authorization or approval of any Person or Entity (other than as expressly
required by the Exit Facility Loan Documents). On the Effective Date, the Exit Facility Loan Documents
shall constitute legal, valid, binding and authorized indebtedness and obligations of the Reorganized
Debtors (other than Emerge GP), enforceable in accordance with their respective terms and such
indebtedness and obligations shall not be, and shall not be deemed to be, enjoined or subject to discharge,
impairment, release or avoidance under this Plan, the Confirmation Order or on account of the
Confirmation or Consummation of this Plan. For the avoidance of doubt, any letter of credit issued and
outstanding under the Prepetition Credit Agreement on the Effective Date shall be deemed issued under
the Exit Facility Credit Agreement.

         On the Effective Date, the Prepetition Debt Liens in relation to the Exit Facility Loans and any
and all additional liens and security interests to be granted in accordance with the Exit Facility Loan
Documents (a) shall be legal, binding, and enforceable liens on, and security interests in, the collateral
granted thereunder in accordance with the terms of the Exit Facility Loan Documents, (b) shall be deemed
automatically attached and perfected on the Effective Date, subject only to such liens and security
interests as may be permitted under the Exit Facility Loan Documents, and (c) shall not be subject to
avoidance, recharacterization, or subordination (including equitable subordination) for any purposes
whatsoever and shall not constitute preferential transfers, fraudulent conveyances, or other voidable
transfers under the Bankruptcy Code or any applicable non-bankruptcy law. The Reorganized Debtors
and the entities granted such liens and security interests are authorized to make all filings and recordings,
and to obtain all governmental approvals and consents necessary to establish, attach, and perfect such
liens and security interests under the provisions of the applicable state, provincial, federal, or other law
(whether domestic or foreign) that would be applicable in the absence of this Plan and the Confirmation
Order (it being understood that perfection shall occur automatically by virtue of the entry of the
Confirmation Order and the occurrence of the Effective Date, and any such filings, recordings, approvals,
and consents shall not be required), and will thereafter cooperate to make all other filings and recordings
that otherwise would be necessary under applicable law to give notice of such liens and security interests
to third parties. To the extent that any Holder of a Secured Claim that has been satisfied or discharged in
full pursuant to this Plan, or any agent for such Holder, has filed or recorded publicly any liens and/or
security interests to secure such Holder’s Secured Claim, then as soon as practicable on or after the
Effective Date, such Holder (or the agent for such Holder) shall take any and all steps reasonably
requested by the Debtors, the Reorganized Debtors, or the Exit Facility Agent that are necessary to release
and/or extinguish such liens and security interests.

F.      No Termination or Release of Prepetition Debt Liens

        Notwithstanding anything in this Plan to the contrary, all property and assets of the Estates of the
Debtors, including, without limitation, all claims, rights and Litigation Claims of the Debtors and any
property and assets acquired by the Debtors or the Reorganized Debtors during the Chapter 11 Cases or


                                                     32
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 38 of 69



under or in connection with this Plan, shall remain encumbered by and subject to the Prepetition Debt
Liens, which, as of the Effective Date, shall secure the Exit Facility Loans and the New Second Lien
Notes, as applicable, and such Liens (i) shall be and hereby are ratified, reaffirmed as valid, enforceable,
and not avoidable, and deemed granted by the Reorganized Debtors and (ii) shall not be, and shall not be
deemed to be, impaired, terminated, discharged or released by this Plan or the Confirmation Order or on
account of the Confirmation or Consummation of this Plan.

G.      New GP/LP Equity Interests; Book Entry

        On the Effective Date, subject to the terms and conditions of the Restructuring Transactions, the
New General Partner and Reorganized Emerge LP shall issue the New GP/LP Equity Interests, as
applicable, pursuant to this Plan and/or the Amended/New Organizational Documents, as applicable.
Except as otherwise expressly provided in the Restructuring Documents, the New General Partner and
Reorganized Emerge LP shall not be obligated to register the New GP/LP Equity Interests under the
Securities Act or to list such Equity Interests for public trading on any securities exchange.

         Distributions of the New GP/LP Equity Interests and New Warrants may be made by delivery or
book-entry transfer thereof by the applicable Distribution Agent in accordance with this Plan and the
Amended/New Organizational Documents. Upon the Effective Date, after giving effect to the
transactions contemplated hereby, the authorized capital stock or other equity securities of the New
General Partner and Reorganized Emerge LP shall be that number of interests or units of New GP/LP
Equity Interests as may be designated in the Amended/New Organizational Documents.

        On and as of the Effective Date, all of the Holders of New GP/LP Equity Interests shall be bound
by the terms and conditions of the Amended/New Organizational Documents, without the need for
execution by such Holder. The Amended/New Organizational Documents shall be binding on all Persons
receiving, and all Holders of, the New GP/LP Equity Interests (and their respective successors and
assigns), whether such interest is received or to be received on or after the Effective Date.

H.      New Management Incentive Plan

        As soon as reasonably practicable after the Effective Date, the New General Partner will adopt
and implement the New Management Incentive Plan, which terms and conditions, including recipients,
individual awards and vesting periods, shall be determined by the New Board. The New Management
Incentive Plan Equity will dilute all of the New Limited Partnership Interests equally.

I.      New Warrants

         If the Class of General Unsecured Claims votes to accept this Plan, then on the Effective Date,
consistent with the Global Settlement, Reorganized Emerge LP shall enter into and consummate the
transactions contemplated by the New Warrants Agreement (including issuing the New Warrants), which
shall become effective and binding in accordance with their respective terms and conditions upon the
parties thereto, in each case without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule or the vote, consent, authorization or approval of any Person or
Entity (other than as expressly required by the New Warrants Agreement and the New Warrants, as
applicable).

J.      Plan Securities and Related Documentation; Exemption from Securities Laws

        On and after the Effective Date, the Debtors and the Reorganized Debtors, as applicable, are
authorized to and shall provide or issue, as applicable, the New Second Lien Notes, the New GP/LP


                                                     33
               Case 19-11563-KBO             Doc 98        Filed 07/25/19     Page 39 of 69



Equity Interests, the New Warrants, and any and all other securities to be distributed or issued under this
Plan (collectively, the “Plan Securities”) and any and all other notes, units, stock, instruments,
certificates, and other documents or agreements required to be distributed, issued, executed or delivered
pursuant to or in connection with this Plan (collectively, the “Plan Securities and Documents”), in each
case in form and substance acceptable to the Special Restructuring Committee and the Majority
Noteholders in the manner set forth in the Restructuring Support Agreement, and without further notice to
or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,
consent, authorization or approval of any Person or Entity.

         The offer, distribution and issuance, as applicable, of the Plan Securities and Documents under
this Plan shall be exempt from registration and prospectus delivery requirements under applicable
securities laws (including Section 5 of the Securities Act or any similar state or local law requiring the
registration and/or the delivery of a prospectus for offer or sale of a security or registration or licensing of
an issuer of a security) pursuant to section 1145(a) of the Bankruptcy Code and/or other applicable
exemptions. An offering of Plan Securities provided in reliance on the exemption from registration under
the Securities Act pursuant to section 1145(a) of the Bankruptcy Code may be sold without registration to
the extent permitted under section 1145 of the Bankruptcy Code and is deemed to be a public offering,
and such Plan Securities may be resold without registration to the extent permitted under section 1145 of
the Bankruptcy Code.

         All New GP/LP Equity Interests issued to Holders of Allowed Claims on account of their
respective Claims may be issued without registration under the Securities Act or any similar federal, state,
or local law in reliance on section 1145(a) of the Bankruptcy Code.

         Resales of any Plan Securities by Persons who receive any Plan Securities that are offered
pursuant to an exemption under section 1145(a) of the Bankruptcy Code, who are deemed to be
“underwriters” (as such term is defined in section 1145(b)(1) of the Bankruptcy Code) (collectively, the
“Restricted Holders”) would not be exempted by section 1145 of the Bankruptcy Code from registration
of Plan Securities under the Securities Act. Restricted Holders would, however, be permitted to resell the
Plan Securities that are offered pursuant to an exemption under section 1145(a) of the Bankruptcy Code
without registration if they are able to comply with the provisions of Rule 144 under the Securities Act, or
if such securities are registered with the Commission pursuant to a registration statement or otherwise.

        The terms of the Restructuring Documents governing the New Limited Partnership Interests will
provide registration rights to holders of the New Second Lien Notes (among other rights).

K.      Release of Liens and Claims

         To the fullest extent provided under section 1141(c) and other applicable provisions of the
Bankruptcy Code, except as otherwise provided herein (including, without limitation, Article V.F and
V.G of this Plan) or in any contract, instrument, release or other agreement or document entered into or
delivered in connection with this Plan, on the Effective Date and concurrently with the applicable
distributions made pursuant to Article VII hereof, all Liens, Claims, mortgages, deeds of trust, or other
security interests against the assets or property of the Debtors or the Estates shall be fully released,
canceled, terminated, extinguished and discharged, in each case without further notice to or order of the
Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote, consent,
authorization or approval of any Person or Entity. The filing of the Confirmation Order with any federal,
state, or local agency or department shall constitute good and sufficient evidence of, but shall not be
required to effect, the termination of such Liens, Claims and other interests to the extent provided in the
immediately preceding sentence. Any Person or Entity holding such Liens, Claims or interests shall,
pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Reorganized


                                                      34
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 40 of 69



Debtors such instruments of termination, release, satisfaction and/or assignment (in recordable form) as
may be reasonably requested by the Reorganized Debtors.

L.      Organizational Documents of the Reorganized Debtors

         The respective organizational documents of each of the Debtors shall be amended and restated or
replaced (as applicable) in form and substance satisfactory to the Special Restructuring Committee and
the Majority Noteholders in the manner set forth in the Restructuring Support Agreement and as
necessary to satisfy the provisions of this Plan and the Bankruptcy Code. Such organizational documents
shall: (i) to the extent required by section 1123(a)(6) of the Bankruptcy Code, include a provision
prohibiting the issuance of non-voting equity securities; (ii) authorize the issuance of New GP/LP Equity
Interests in an amount not less than the amount necessary to permit the distributions thereof required or
contemplated by this Plan; (iii) to the extent necessary or appropriate, include restrictions on the transfer
of New GP/LP Equity Interests; and (iv) to the extent necessary or appropriate, include such provisions as
may be needed to effectuate and consummate this Plan and the transactions contemplated herein. After
the Effective Date, the Reorganized Debtors may, subject to the terms and conditions of the Restructuring
Documents, amend and restate their respective organizational documents as permitted by applicable law.

M.      Directors and Officers of the Reorganized Debtors

         The New Board shall be identified in the Plan Supplement and shall be subject to approval of the
Bankruptcy Court pursuant to section 1129(a)(5) of the Bankruptcy Code. Pursuant to and to the extent
required by section 1129(a)(5) of the Bankruptcy Code, the Debtors will disclose, at or prior to the
Confirmation Hearing, the identity and affiliations of any Person proposed to serve on the New Board or
as an officer of each of the Reorganized Debtors (other than Emerge GP), and, to the extent such Person
is an insider other than by virtue of being a director, managing member or an officer, the nature of any
compensation for such Person. Each such director, manager, managing member and/or officer shall serve
from and after the Effective Date pursuant to applicable law and the terms of the Amended/New
Organizational Documents and the other constituent and organizational documents of the applicable
Reorganized Debtors. The existing boards of directors and other governing bodies of the Debtors will be
deemed to have resigned on and as of the Effective Date, in each case without further notice to or order of
the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote, consent,
authorization or approval of any Person or Entity.

N.      Corporate Action

         Each of the Debtors and the Reorganized Debtors may take any and all actions to execute,
deliver, File or record such contracts, instruments, releases and other agreements or documents and take
such actions as may be necessary or appropriate to effectuate and implement the provisions of this Plan,
including, without limitation, the issuance and the distribution of the securities to be issued pursuant
hereto, in each case in form and substance acceptable to the Special Restructuring Committee and the
Majority Noteholders in the manner set forth in the Restructuring Support Agreement, and without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or
any requirement of further action, vote or other approval or authorization by the security holders,
members, managers, officers or directors of the Debtors or the Reorganized Debtors or by any other
Person (except for those expressly required pursuant hereto or by the Restructuring Documents).

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant to this
Plan that would otherwise require approval of the unit holders, interest holders, stockholders, directors,
officers, managers, members or partners of the Debtors (as of prior to the Effective Date) shall be deemed
to have been so approved and shall be in effect prior to, on or after the Effective Date (as appropriate)


                                                     35
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 41 of 69



pursuant to applicable law and without any requirement of further action by such Person or Entity or the
need for any approvals, authorizations, actions or consents of or from any such Person or Entity.

        As of the Effective Date, all matters provided for in this Plan involving the legal or corporate
structure of the Debtors or the Reorganized Debtors (including, without limitation, the adoption of the
Amended/New Organization Documents and similar constituent and organizational documents, and the
selection of managers, directors, managing members and/or officers for, each of the Reorganized
Debtors), and any legal or corporate action required by the Debtors or the Reorganized Debtors in
connection with this Plan, shall be deemed to have occurred and shall be in full force and effect in all
respects, in each case without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule or any requirement of further action, vote or other approval or
authorization by any Person or Entity.

        On and after the Effective Date, the appropriate officers of the Debtors and the Reorganized
Debtors are authorized to issue, execute, and deliver, and consummate the transactions contemplated by,
the contracts, agreements, documents, guarantees, pledges, consents, securities, certificates, resolutions
and instruments contemplated by or described in this Plan in the name of and on behalf of the Debtors and
the Reorganized Debtors, in each case in form and substance acceptable to the Special Restructuring
Committee and the Majority Noteholders in the manner set forth in the Restructuring Support Agreement,
and without further notice to or order of the Bankruptcy Court, act or action under applicable law,
regulation, order, or rule or any requirement of further action, vote or other approval or authorization by
any Person or Entity. The secretary and any assistant secretary of the Debtors and the Reorganized
Debtors shall be authorized to certify or attest to any of the foregoing actions.

O.      Cancellation of Notes, Certificates and Instruments

         On the Effective Date, except to the extent otherwise provided herein (including, without
limitation, Article V.E and V.F of this Plan), all notes, indentures, instruments, certificates, agreements
and other documents evidencing or relating to any Impaired Claim shall be fully released, terminated,
extinguished and discharged, in each case without further notice to or order of the Bankruptcy Court, act
or action under applicable law, regulation, order, or rule or any requirement of further action, vote or
other approval or authorization by any Person or Entity; provided that the Prepetition Credit Agreement
and the Prepetition Notes Agreement shall each continue in effect for the limited purpose of allowing
Holders of Claims thereunder to receive, and allowing and preserving the rights of the administrative
agents thereunder to make, distributions under this Plan; provided further that, upon completion of all
such distributions, the Prepetition Credit Agreement and the Prepetition Notes Agreement and any and all
notes, securities and instruments issued in connection therewith shall terminate completely without
further notice or action and be deemed surrendered.

P.      Old GP/LP Equity Interests; Old Affiliate Equity Interests

         On the Effective Date, the Old GP/LP Equity Interests will be terminated and cancelled without
further notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or
rule or any requirement of further action, vote or other approval or authorization by any Person or Entity.

         On the Effective Date, the Old Affiliate Equity Interests shall remain effective and outstanding,
and shall be owned and held by the same applicable Person(s) that held and/or owned such Old Affiliate
Equity Interests immediately prior to the Effective Date. Each Emerge LP Subsidiary shall continue to be
governed by the terms and conditions of its applicable organizational documents as in effect immediately
prior to the Effective Date, except as amended or modified by this Plan.



                                                     36
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 42 of 69



Q.      Sources of Cash for Plan Distributions

         All Cash necessary for the Debtors or the Reorganized Debtors, as applicable, to make payments
required pursuant to this Plan will be obtained from their respective Cash balances, including Cash from
operations, the Wind-Down Reserve established pursuant to this Plan and solely in connection with
Emerge GP’s dissolution, and the Exit Facility Credit Agreement. The Debtors and the Reorganized
Debtors, as applicable, may also make such payments using Cash received from their subsidiaries through
their respective consolidated cash management systems and the incurrence of intercompany transactions,
but in all cases subject to the terms and conditions of the Restructuring Documents.

R.      Continuing Effectiveness of Final Orders

        Payment authorization granted to the Debtors under any prior Final Order entered by the
Bankruptcy Court shall continue in effect after the Effective Date. Accordingly, the Debtors or the
Reorganized Debtors may pay or otherwise satisfy any Claim to the extent permitted by, and subject to,
the applicable Final Order without regard to the treatment that would otherwise be applicable to such
Claim under this Plan.

S.      Funding and Use of Carve Out Reserve

       On or before the Effective Date, the Debtors shall fund the Carve Out Reserve in Cash in the
aggregate amount of the Professional Fee Claims Estimates unless such other amount is determined by
agreement among the Debtors, the Majority Noteholders and the Professional, or by order of the
Bankruptcy Court.

          The Cash contained in the Carve Out Reserve shall be used solely to pay the obligations and
liabilities for which such reserve was established, with the Unused Cash Reserve Amount (if any) being
returned to the Reorganized Debtors within three (3) Business Days after determining the Unused Cash
Reserve Amount. The Debtors and the Reorganized Debtors, as applicable, shall maintain detailed
records of all payments made from the Carve Out Reserve, such that all payments and transactions shall
be adequately and promptly documented in, and readily ascertainable from, their respective books and
records.

         After the Effective Date, neither the Debtors nor the Reorganized Debtors shall deposit any other
funds or property into the Carve Out Reserve without further order of the Bankruptcy Court or otherwise
commingle funds in the Carve Out Reserve. To the extent the Carve Out Reserve is insufficient to pay in
full in Cash the obligations and liabilities for which such reserve was established, then the Reorganized
Debtors shall, within five (5) Business Days, pay such obligations and liabilities from either Cash on hand
or by drawing under the Exit Facility Credit Agreement to the extent of any availability thereunder.

T.      Payment of Fees and Expenses of Certain Creditors

         The Debtors shall, on and after the Effective Date and to the extent invoiced, pay the Prepetition
Credit Agreement Agent & Lenders Fees and Expenses and the Prepetition Noteholders Fees and
Expenses (in each case whether accrued prepetition or postpetition and to the extent not otherwise paid
during the Chapter 11 Cases), without application by any such parties to the Bankruptcy Court, and
without notice and a hearing pursuant to section 1129(a)(4) of the Bankruptcy Code or otherwise;
provided, however, if the Debtors or Reorganized Debtors and any such Entity cannot agree with respect
to the reasonableness of the fees and expenses incurred prior to the Effective Date to be paid to such
party, the reasonableness of any such fees and expenses shall be determined by the Bankruptcy Court
(with any undisputed amounts to be paid by the Debtors on or after the Effective Date (as applicable) and


                                                    37
                   Case 19-11563-KBO          Doc 98        Filed 07/25/19    Page 43 of 69



any disputed amounts to be escrowed by the Reorganized Debtors). Notwithstanding anything to the
contrary in this Plan, the fees and expenses described in this paragraph shall not be subject to the
Administrative Claims Bar Date or Claims Bar Date.

                                                 ARTICLE VI.

                 TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.         Treatment of Executory Contracts and Unexpired Leases

       On the Effective Date, all Executory Contracts and Unexpired Leases of the Debtors shall be
deemed rejected by the Debtors in accordance with sections 365(a) and 1123(b)(2) of the Bankruptcy
Code, except for those Executory Contracts and Unexpired Leases that:

           (i)      have been assumed or rejected by the Debtors by prior order of the Bankruptcy Court;

           (ii)     previously expired or terminated pursuant to its own terms or by agreement of the parties
thereto;

           (iii)    are the subject of a motion to assume filed by the Debtors pending on the Effective Date;

         (iv)  are identified by the Debtors (with the consent of the Majority Noteholders) for
assumption in the Plan Supplement, which may be amended by the Debtors (with the consent of the
Majority Noteholders) to add or remove Executory Contracts and Unexpired Leases prior to the Effective
Date; or

           (v)      are assumed by the Debtors pursuant to the terms of this Plan.

        Without amending or altering any prior order of the Bankruptcy Court approving the assumption
or rejection of any Executory Contract or Unexpired Lease, entry of the Confirmation Order by the
Bankruptcy Court shall constitute approval of such rejections and assumptions (as applicable) pursuant to
sections 365(a) and 1123(b)(2) of the Bankruptcy Code.

        To the extent any provision in any Executory Contract or Unexpired Lease assumed or assumed
and assigned (as applicable) pursuant to this Plan or any prior order of the Bankruptcy Court (including,
without limitation, any “change of control” provision) (a) prohibits, restricts or conditions (or purports to
prohibit, restrict or condition), (b) is modified, breached or terminated (or deemed modified, breached or
terminated), (c) increases, accelerates or otherwise alters any obligations or liabilities of the Debtors or
Reorganized Debtors (or purports to increase, accelerate or otherwise alter any obligations or liabilities of
the Debtors or Reorganized Debtors), or (d) results in the creation or imposition of any Lien upon any
property or asset of any of the Debtors or Reorganized Debtors (or purports to result in the creation or
imposition of any Lien upon any property or asset or any of the Debtors or Reorganized Debtors), in each
case as a result of (i) the commencement of these Chapter 11 Cases or the insolvency or financial
condition of any Debtor at any time before the closing of its respective Chapter 11 Case, (ii) any Debtor’s
or any Reorganized Debtor’s assumption or assumption and assignment (as applicable) of such Executory
Contract or Unexpired Lease or (iii) the Confirmation or Consummation of this Plan, then such provision
shall be deemed modified such that the transactions contemplated by this Plan shall not entitle the non-
debtor party thereto to modify, declare a breach, terminate, increase, accelerate or alter any of the
obligations or liabilities of the Debtors or the Reorganized Debtors under, or create or impose any Lien
upon any property or asset of any of the Debtors or Reorganized Debtors under any such Executory
Contract or Unexpired Lease or to exercise any other default-related rights or remedies with respect


                                                       38
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 44 of 69



thereto, and any required consent under any such contract or lease shall be deemed satisfied by the
Confirmation of the Plan.

         Each Executory Contract and Unexpired Lease assumed and/or assigned pursuant to this Plan
shall revest in and be fully enforceable by the applicable Reorganized Debtor or the applicable assignee in
accordance with its terms and conditions, except as modified by the provisions of this Plan, any order of
the Bankruptcy Court approving its assumption and/or assignment, or applicable law.

       The inclusion or exclusion of a contract or lease on any schedule or exhibit shall not constitute an
admission by any Debtor that such contract or lease is an Executory Contract or Unexpired Lease or that
any Debtor has any liability thereunder.

B.      Cure of Defaults; Assignment of Executory Contracts and Unexpired Leases

        Any defaults under each Executory Contract and Unexpired Lease to be assumed, or assumed and
assigned, pursuant to this Plan shall be satisfied, pursuant to and to the extent required by section
365(b)(1) of the Bankruptcy Code, by payment of the applicable default amount in Cash on the Effective
Date or on such other terms as the Bankruptcy Court may order or the parties to such Executory Contracts
or Unexpired Leases may otherwise agree in writing (with the consent of the Majority Noteholders) (the
“Cure Claim Amount”).

         In the event of an assumption, or an assumption and assignment, of an Executory Contract or
Unexpired Lease under this Plan, the Debtors shall File and serve upon counterparties to such Executory
Contracts and Unexpired Leases, a notice of the proposed assumption, or proposed assumption and
assignment (the “Assumption Notice”), which will: (a) list the applicable Cure Claim Amount, if any; (b)
if applicable, identify the party to which the Executory Contract or Unexpired Lease will be assigned;
(c) describe the procedures for filing objections thereto; and (d) explain the process by which related
disputes will be resolved by the Bankruptcy Court, including the date by which any objection to the
Assumption Notice must be filed and received by the Debtors.

         Any objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed
assumption, or proposed assumption and assignment under this Plan, or any related cure amount, must be
Filed, served and actually received by the Debtors on the date specified in the Assumption Notice
(notwithstanding anything in the Schedules or a Proof of Claim to the contrary). Any counterparty to an
Executory Contract or Unexpired Lease that fails to object timely to the proposed assumption, or
proposed assumption and assignment, or cure amount will be deemed to have consented to such matters
and will be deemed to have forever released and waived any objection to such proposed assumption,
proposed assumption and assignment, and cure amount. The Confirmation Order shall constitute an order
of the Bankruptcy Court approving each proposed assumption, or proposed assumption and assignment,
of Executory Contracts and Unexpired Leases pursuant to sections 365 and 1123 of the Bankruptcy Code
as of the Effective Date.

       In the event of a dispute regarding (a) the amount of any cure payment, (b) the ability of any
Debtor or assignee to provide “adequate assurance of future performance” (within the meaning of section
365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed, or
assumed and assigned or (c) any other matter pertaining to assumption or assignment, the applicable cure
payments required by section 365(b)(1) of the Bankruptcy Code shall be made following the entry of a
Final Order resolving the dispute and approving such assumption or assumption and assignment;
provided, however, that following the resolution of any such dispute, the Debtors or the Reorganized
Debtors, as applicable, may elect to reject such Executory Contract or Unexpired Lease in lieu of
assuming or assigning it. The Debtors or the Reorganized Debtors, as applicable, shall be authorized to


                                                    39
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 45 of 69



effect such rejection by filing a written notice of rejection with the Bankruptcy Court and serving such
notice on the applicable counterparty within ten (10) days of the entry of such Final Order.

         Subject to any cure claims Filed with respect thereto, assumption or assumption and assignment
of any Executory Contract or Unexpired Lease pursuant to this Plan shall result in the full release and
satisfaction of any Claims or defaults, whether monetary or nonmonetary, including defaults of provisions
restricting the change in control or ownership interest composition or other bankruptcy-related defaults,
arising under any assumed Executory Contract or Unexpired Lease at any time prior to the effective date
of assumption or assumption and assignment, in each case as provided in section 365 of the Bankruptcy
Code. Any Proofs of Claim filed with respect to an Executory Contract or Unexpired Lease that has been
assumed or assumed and assigned by Final Order shall be deemed disallowed and expunged (subject to
any cure claims Filed with respect thereto), without further notice to or action, order, or approval of the
Bankruptcy Court.

         With respect to any Executory Contract or Unexpired Lease assumed and assigned pursuant to
this Plan, upon and as of the Effective Date, the applicable assignee shall be deemed to be substituted as a
party thereto for the applicable Debtor party to such assigned Executory Contract or Unexpired Lease
and, accordingly, the Debtors and the Reorganized Debtors shall be relieved, pursuant to and to the extent
set forth in section 365(k) of the Bankruptcy Code, from any further liability under such assigned
Executory Contract or Unexpired Lease.

C.      Rejection of Executory Contracts and Unexpired Leases

        The Debtors reserve the right (with the consent of the Majority Noteholders), at any time prior to
the Effective Date, except as otherwise specifically provided herein, to seek to reject any Executory
Contract or Unexpired Lease, including any Executory Contract or Unexpired Lease previously assumed
by the Debtors pursuant to an order of the Bankruptcy Court or identified in the Plan Supplement, and to
file a motion requesting authorization for the rejection of any such contract or lease. The Confirmation
Order shall constitute an order of the Bankruptcy Court approving the rejections described in this Article
VI pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date. Rejection of any
Executory Contract or Unexpired Lease pursuant to this Plan or otherwise shall not constitute a
termination of any preexisting obligations owed to the Debtors or the Reorganized Debtors, as applicable,
under such Executory Contracts or Unexpired Leases.

D.      Claims on Account of the Rejection of Executory Contracts or Unexpired Leases

       All Proofs of Claim with respect to Claims arising from the rejection of Executory Contracts or
Unexpired Leases, pursuant to this Plan or the Confirmation Order, if any, must be filed with the
Bankruptcy Court within thirty (30) days after service of an order of the Bankruptcy Court (including the
Confirmation Order) approving such rejection.

         Any Person or Entity that is required to file a Proof of Claim arising from the rejection of an
Executory Contract or an Unexpired Lease that fails to timely do so shall be forever barred, estopped and
enjoined from asserting such Claim, and such Claim shall not be enforceable, against the Debtors, the
Reorganized Debtors or the Estates, and the Debtors, the Reorganized Debtors and their Estates and their
respective assets and property shall be forever discharged from any and all indebtedness and liability with
respect to such Claim unless otherwise ordered by the Bankruptcy Court or as otherwise provided herein.
All such Claims shall, as of the Effective Date, be subject to the permanent injunction set forth in Article
X.G hereof.




                                                    40
               Case 19-11563-KBO            Doc 98         Filed 07/25/19     Page 46 of 69



E.      D&O Liability Insurance Policies

On the Effective Date, each D&O Liability Insurance Policy shall be assumed by the Debtors pursuant to
section 365(a) and section 1123 of the Bankruptcy Code as to which no Proof of Claim, request for
administrative expense, or cure claim need be Filed. Unless previously effectuated by separate order
entered by the Bankruptcy Court, entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval of the Debtors’ assumption of each of the D&O Liability Insurance Policies. In furtherance of
the foregoing and subject to the terms and conditions of the D&O Liability Insurance Policies (including
any “tail”, “runoff” or extended reporting period coverage provision to the extent obtained by the Debtors
in relation to any such insurance policies), the Reorganized Debtors shall maintain and continue in full
force and effect such D&O Liability Insurance Policies for the benefit of the insured Persons at levels
(including with respect to coverage and amount) no less favorable than those existing as of the date of
entry of the Confirmation Order for a period of no less than six (6) years following the Effective Date;
provided, however, that, after assumption of the D&O Liability Insurance Policies, nothing in this Plan
otherwise alters the terms and conditions of the D&O Liability Insurance Policies. Subject to the terms
and conditions of the D&O Liability Insurance Policies (including any “tail”, “runoff” or extended
reporting period coverage provision to the extent obtained by the Debtors in relation to any such
insurance policies), Confirmation and Consummation of this Plan shall not impair or otherwise modify
any available defenses of the Reorganized Debtors under the D&O Liability Insurance Policies. For the
avoidance of doubt, the D&O Liability Insurance Policies shall continue to apply with respect to actions,
or failures to act, that occurred on or prior to the Effective Date, subject to the terms and conditions of the
D&O Liability Insurance Policies. The Debtors are further authorized to take such actions, and to execute
and deliver such documents, as may be reasonably necessary or appropriate to implement, maintain, cause
the inception or binding of, satisfy any terms or conditions of, or otherwise secure for the insureds the
benefits of any “tail”, “runoff” or extended reporting period coverage in relation to any such insurance
policies, without further notice to or order of the Bankruptcy Court or approval or consent of any Person
or Entity.

         Notwithstanding anything to the contrary in any D&O Liability Insurance Policies issued prior to
the Effective Date, the Reorganized Debtors shall not have any obligation or responsibility for the
payment of any self-insured retention thereunder or in connection therewith, and no person or entity shall
be entitled to seek reimbursement from or to subrogate against any Reorganized Debtors with respect to
any payments made under such policies.

F.      Indemnification Provisions

        On the Effective Date, each Indemnification Provision shall be deemed and treated as an
Executory Contract that is and shall be assumed by each applicable Debtor pursuant to section 365(a) and
section 1123 of the Bankruptcy Code, subject to and solely to the extent modified herein (as modified, the
“Assumed Indemnification Provisions”); provided that as it relates to the indemnification of any
Debtor’s directors, managers and officers as of the Petition Date that were not members of the Special
Restructuring Committee as of the Petition Date (the “Previous D&Os”), the aggregate liability of the
Reorganized Debtors in connection therewith shall not exceed One Million Dollars ($1,000,000) beyond
the extent of the coverage provided by the D&O Liability Insurance Policies; provided further, that the
Assumed Indemnification Provisions shall not apply to the Previous D&Os with respect to any liabilities
arising from or related to the failure of the Debtors to file its current, quarterly or annual reports as
required under the rules promulgated by the Securities and Exchange Commission unless such failure is
cured and the Debtors are brought back into compliance with the rules promulgated by the Securities and
Exchange Commission in accordance with the milestones set forth in Section 6.16 of the DIP Credit
Agreement. In connection with the Assumed Indemnification Provisions, no Proof of Claim, request for
administrative expense, or cure claim need be Filed. Unless previously effectuated by separate order


                                                      41
               Case 19-11563-KBO            Doc 98        Filed 07/25/19     Page 47 of 69



entered by the Bankruptcy Court, entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval of the Debtors’ assumption of each of the Assumed Indemnification Provisions. Confirmation
and Consummation of this Plan shall not impair or otherwise modify any available defenses of the
Reorganized Debtors or other applicable parties under the Assumed Indemnification Provisions. For the
avoidance of doubt, (i) the Assumed Indemnification Provisions shall continue to apply with respect to
actions, or failures to act, that occurred on or prior to the Effective Date, subject to the terms and
conditions of the Assumed Indemnification Provisions, and (ii) the New General Partner shall not assume
nor be deemed to assume any liabilities with respect to any Indemnification Provision of a Previous
D&O.

G.      Extension of Time to Assume or Reject

         Notwithstanding anything to the contrary set forth in Article VI of this Plan, in the event of a
dispute as to whether a contract is executory or a lease is unexpired, the right of the Reorganized Debtors
to move to assume or reject such contract or lease shall be extended until the date that is ten (10) days
after entry of a Final Order by the Bankruptcy Court determining that the contract is executory or the
lease is unexpired. The deemed rejection provided for in Article VI.A of this Plan shall not apply to any
such contract or lease, and any such contract or lease shall be assumed or rejected only upon motion of
the Reorganized Debtors following the Bankruptcy Court’s determination that the contract is executory or
the lease is unexpired.

H.      Modifications, Amendments, Supplements, Restatements, or Other Agreements

         Unless otherwise provided in this Plan, each Executory Contract or Unexpired Lease that is
assumed by the Debtors or the Reorganized Debtors shall include all modifications, amendments,
supplements, restatements, or other agreements that in any manner affect such Executory Contract or
Unexpired Lease, and all rights related thereto, if any, including all easements, licenses, permits, rights,
privileges, immunities, options, rights of first refusal, and any other interests, unless any of the foregoing
has been previously rejected or repudiated or is rejected or repudiated hereunder. Modifications,
amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired Leases
that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the
prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or amount of
any Claims that may arise in connection therewith.

                                              ARTICLE VII.

                           PROVISIONS GOVERNING DISTRIBUTIONS

A.      Distributions for Claims Allowed as of the Effective Date

        Except as otherwise provided in the “Treatment” sections in Article III hereof or as ordered by
the Bankruptcy Court, initial distributions to be made on account of Claims that are Allowed Claims as of
the Effective Date shall be made on the Initial Distribution Date or as soon thereafter as is practicable.
Any payment or distribution required to be made under this Plan on a day other than a Business Day shall
be made on the next succeeding Business Day. Distributions on account of Disputed Claims that first
become Allowed Claims after the Effective Date shall be made pursuant to Article VIII hereof.

B.      No Postpetition Interest on Claims

       Unless otherwise specifically provided for in this Plan, the Confirmation Order or Final Order of
the Bankruptcy Court, or required by applicable bankruptcy law (including, without limitation, as


                                                     42
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 48 of 69



required pursuant to section 506(b) or section 511 of the Bankruptcy Code), postpetition interest shall not
accrue or be paid on any Claims and no Holder of a Claim shall be entitled to interest accruing on or after
the Petition Date on any Claim.

C.      Distributions by the Reorganized Debtors or Other Applicable Distribution Agent

         Other than as specifically set forth below, the Reorganized Debtors or other applicable
Distribution Agent shall make all distributions required to be distributed under this Plan. Distributions on
account of the Allowed Prepetition Debt Claims and Allowed DIP Facility Claims shall be made to the
Prepetition Agents and the DIP Credit Agreement Agent, respectively, and such agent will be, and shall
act as, the Distribution Agent with respect to its respective Class of Claims in accordance with the terms
and conditions of this Plan and the applicable loan documents. All distributions to Holders of Prepetition
Debt Claims and DIP Facility Claims shall be deemed completed when made by the Reorganized Debtors
to the Prepetition Agents and the DIP Credit Agreement Agent, as applicable. The Reorganized Debtors
may employ or contract with other entities to assist in or make the distributions required by this Plan and
may pay the reasonable fees and expenses of such entities and the Distribution Agents in the ordinary
course of business. No Distribution Agent shall be required to give any bond or surety or other security
for the performance of its duties unless otherwise ordered by the Bankruptcy Court.

D.      Delivery and Distributions; Undeliverable or Unclaimed Distributions

        1. Record Date for Distributions

         On the Distribution Record Date, the Claims Register (and the Debtors’ books and records with
respect to the Holders of Old GP/LP Equity Interests) shall be closed. Accordingly, the Debtors, the
Reorganized Debtors or other applicable Distribution Agent will have no obligation to recognize the
assignment, transfer or other disposition of, or the sale of any participation in, any Allowed Claim (other
than DIP Credit Agreement Claims and Prepetition Debt Claims) or Allowed Equity Interest that occurs
after the close of business on the Distribution Record Date, and will be entitled for all purposes herein to
recognize and distribute securities, property, notices and other documents only to those Holders of
Allowed Claims (other than DIP Credit Agreement Claims and Prepetition Debt Claims) or Allowed
Equity Interest who are Holders of such Claims or Equity Interests, or participants therein, as of the close
of business on the Distribution Record Date. The Reorganized Debtors or other applicable Distribution
Agent shall be entitled to recognize and deal for all purposes under this Plan with only those record
holders stated on the Claims Register, or their books and records, as of the close of business on the
Distribution Record Date; provided, however, that the Distribution Record Date shall not apply to the DIP
Credit Agreement Claims or Prepetition Debt Claims.

        2. Delivery of Distributions in General

         Except as otherwise provided herein, the Debtors, the Reorganized Debtors or other applicable
Distribution Agent, as applicable, shall make distributions to Holders of Allowed Claims and Allowed
Equity Interests, or in care of their authorized agents, as appropriate, at the address for each such Holder
or agent as indicated on the Debtors’ or other applicable Distribution Agent’s books and records as of the
date of any such distribution; provided, however, that the manner of such distributions shall be
determined in the discretion of the applicable Distribution Agent (subject to the terms and conditions of
the DIP Credit Agreement and the relevant Prepetition Debt Documents, if applicable); provided further,
that the address for each Holder of an Allowed Claim shall be deemed to be the address set forth in the
latest Proof of Claim Filed by such Holder pursuant to Bankruptcy Rule 3001 as of the Distribution
Record Date and the address for each Holder of an Allowed Equity Interest shall be deemed to be the



                                                    43
               Case 19-11563-KBO            Doc 98         Filed 07/25/19     Page 49 of 69



address set forth in the Debtors’ books and records, or as may be held by the applicable transfer agent or
similar such agency.

        3. Minimum Distributions

         Notwithstanding anything herein to the contrary, no Distribution Agent shall be required to make
distributions or payments of less than $25.00 (whether in Cash or otherwise) or to make partial
distributions or payments of fractions of dollars or New GP/LP Equity Interests, in each case with respect
to Impaired Claims or Impaired Equity Interests. With respect to Impaired Claims and Impaired Equity
Interests, whenever any payment or distribution of a fraction of a dollar or share/unit of New GP/LP
Equity Interest under this Plan would otherwise be called for, the actual payment or distribution will
reflect a rounding of such fraction to the nearest whole dollar or share/unit of New GP/LP Equity Interest
(up or down), with half dollars and half shares/units of New GP/LP Equity Interest or more being rounded
up to the next higher whole number and with less than half dollars and half shares/units of New GP/LP
Equity Interest being rounded down to the next lower whole number (and no Cash shall be distributed in
lieu of such fractional New GP/LP Equity Interest).

         No Distribution Agent shall have any obligation to make a distribution on account of an Allowed
Claim that is Impaired under this Plan if: (a) the aggregate amount of all distributions authorized to be
made on the Subsequent Distribution Date in question is or has an economic value less than $25,000,
unless such distribution is a final distribution; or (b) the amount to be distributed to the specific Holder of
an Allowed Claim on such Subsequent Distribution Date does not constitute a final distribution to such
Holder and is or has an economic value less than $25.00, which shall be treated as an undeliverable
distribution under Article VII.D.4 below.

        4. Undeliverable Distributions

                 (a)     Holding of Certain Undeliverable Distributions

         If the distribution to any Holder of an Allowed Claim or an Allowed Equity Interest is returned to
the Distribution Agent as undeliverable or is otherwise unclaimed, no further distributions shall be made
to such Holder unless and until the Distribution Agent is notified in writing of such Holder’s then current
address in accordance with the time frames described in Article VII.D.4(b) hereof, at which time all
currently due but missed distributions shall be made to such Holder on the next Subsequent Distribution
Date (or such earlier date as determined by the applicable Distribution Agent). Undeliverable
distributions shall remain in the possession of the Reorganized Debtors or in the applicable reserve,
subject to Article VII.D.4(b) hereof, until such time as any such distributions become deliverable.
Undeliverable distributions shall not be entitled to any additional interest, dividends or other accruals of
any kind on account of their distribution being undeliverable.

                 (b)     Failure to Claim Undeliverable Distributions

         Any Holder of an Allowed Claim or an Allowed Equity Interest (or any successor or assignee or
other Person or Entity claiming by, through, or on behalf of, such Holder) that does not assert a right
pursuant to this Plan for an undeliverable or unclaimed distribution within ninety (90) days after the later
of the Effective Date or the date such distribution is due shall be deemed to have forfeited its rights for
such undeliverable or unclaimed distribution and shall be forever barred and enjoined from asserting any
such rights for an undeliverable or unclaimed distribution against the Debtors or their Estates, the
Reorganized Debtors or their respective assets or property, or any Distribution Agent. In such case, any
Cash, Plan Securities, or other property reserved for distribution on account of such Claim or Equity
Interest shall become the property of the Reorganized Debtors, free and clear of any Claims or other


                                                      44
               Case 19-11563-KBO            Doc 98         Filed 07/25/19     Page 50 of 69



rights of such Holder with respect thereto and notwithstanding any federal or state escheat laws to the
contrary. Any such Cash, Plan Securities, or other property shall thereafter be distributed or allocated in
accordance with the applicable terms and conditions of this Plan. Nothing contained in this Plan shall
require the Debtors, the Reorganized Debtors, or any Distribution Agent to attempt to locate any Holder
of an Allowed Claim or an Allowed Equity Interest.

                 (c)     Failure to Present Checks

         Checks issued by the Distribution Agent on account of Allowed Claims or Allowed Equity
Interests shall be null and void if not negotiated within ninety (90) days after the issuance of such check.
Requests for reissuance of any check shall be made directly to the Distribution Agent by the Holder of the
relevant Allowed Claim or Allowed Equity Interest with respect to which such check originally was
issued. Any Holder of an Allowed Claim or Allowed Equity Interest holding an un-negotiated check that
does not request reissuance of such un-negotiated check within ninety (90) days after the date of mailing
or other delivery of such check shall have its rights for such un-negotiated check discharged and be
forever barred, estopped and enjoined from asserting any such right against the Debtors, their Estates, the
Reorganized Debtors, or their respective assets or property. In such case, any Cash held for payment on
account of such Claims or Equity Interests shall become the property of the Reorganized Debtors, free
and clear of any Claims or other rights of such Holder with respect thereto and notwithstanding any
federal or state escheat laws to the contrary. Any such Cash shall thereafter be distributed or allocated in
accordance with the applicable terms and conditions of this Plan.

E.      Compliance with Tax Requirements

         In connection with this Plan and all distributions hereunder, the Reorganized Debtors or other
applicable Distribution Agent shall comply with all withholding and reporting requirements imposed by
any federal, state, local, or foreign taxing authority, and all distributions hereunder shall be subject to any
such withholding and reporting requirements. The Reorganized Debtors or other applicable Distribution
Agent shall be authorized to take any and all actions that may be necessary or appropriate to comply with
such withholding and reporting requirements. All Persons holding Claims or Equity Interests shall be
required to provide any information necessary to effect information reporting and the withholding of such
taxes, and each Holder of an Allowed Claim or an Allowed Equity Interest shall have the sole and
exclusive responsibility for the satisfaction and payment of any tax obligations imposed by any
Governmental Unit, including income, withholding, and other tax obligations, on account of such
distribution.

F.      Allocation of Plan Distributions Between Principal and Interest

        To the extent that any Allowed Claim entitled to a distribution under this Plan is comprised of
indebtedness and accrued but unpaid interest thereon, such distribution shall, to the extent permitted by
applicable law, be allocated for income tax purposes to the principal amount of the Claim first and then,
to the extent that the consideration exceeds the principal amount of the Claim, to the portion of such
Claim representing accrued but unpaid interest.

G.      Means of Cash Payment

        Payments of Cash made pursuant to this Plan shall be in U.S. dollars and shall be made, at the
option of the applicable Distribution Agent, by checks drawn on, or wire transfer from, a domestic bank
selected by such Distribution Agent. Cash payments to foreign creditors may be made, at the option of
the applicable Distribution Agent, in such funds and by such means as are necessary or customary in a
particular foreign jurisdiction.


                                                      45
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 51 of 69



H.      Timing and Calculation of Amounts to Be Distributed

         Except as otherwise provided in the “Treatment” sections in Article III hereof or as ordered by
the Bankruptcy Court, on the Initial Distribution Date (or if a Claim is not an Allowed Claim on the
Effective Date, on the Subsequent Distribution Date occurring after such Claim becomes an Allowed
Claim, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim shall receive the
full amount of the distributions that this Plan provides for Allowed Claims in the applicable Class. If and
to the extent that there are Disputed Claims, distributions on account of any such Disputed Claims shall
be made pursuant to the provisions set forth in the applicable class treatment or in Article VIII hereof.
Except as otherwise provided herein, Holders of Claims shall not be entitled to interest, dividends or
accruals on the distributions provided for herein, regardless of whether such distributions are delivered on
or at any time after the Effective Date.

I.      Setoffs

         Without altering or limiting any of the rights and remedies of the Debtors and the Reorganized
Debtors under section 502(d) of the Bankruptcy Code, all of which rights and remedies are hereby
reserved, the Debtors and the Reorganized Debtors, in consultation with the Majority Noteholders, may,
but shall not be required to, withhold (but not setoff except as set forth below) from the distributions
called for hereunder on account of any Allowed Claim (other than any Allowed Prepetition Credit
Agreement Claims, Allowed DIP Credit Agreement Claims, and Allowed Prepetition Notes Claims) an
amount equal to any claims, Causes of Action and Litigation Claims of any nature that the Debtors or the
Reorganized Debtors may hold against the Holder of any such Allowed Claim; provided that, at least ten
(10) days prior to effectuating such withholding, the Debtors or the Reorganized Debtors, as applicable,
shall provide written notice thereof to the applicable Holder of such Claim, and all objections and
defenses of such Holder to such withholding are preserved. In the event that any such claims, Causes of
Action or Litigation Claims are adjudicated by Final Order or otherwise resolved against the applicable
Holder, the Debtors and the Reorganized Debtors may, pursuant to section 553 of the Bankruptcy Code or
applicable non-bankruptcy law, set off against any Allowed Claim (other than any Allowed Prepetition
Credit Agreement Claims, Allowed DIP Credit Agreement Claims, and Allowed Prepetition Notes
Claims) and the distributions to be made pursuant hereto on account of such Allowed Claim (before any
distribution is made on account of such Allowed Claim), the amount of such adjudicated or resolved
claims, Causes of Action or Litigation Claims. Neither the failure to effect such a setoff nor the
allowance of any Claim hereunder shall constitute a waiver or release by the Debtors or the Reorganized
Debtors of any such claims, Causes of Action or Litigation Claims, all of which are reserved unless
expressly released or compromised pursuant to this Plan or the Confirmation Order.

                                             ARTICLE VIII.

              PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED,
                   AND DISPUTED CLAIMS AND EQUITY INTERESTS

A.      Resolution of Disputed Claims and Equity Interests

        1. Allowance of Claims and Equity Interests

        After the Effective Date, and except as otherwise provided in this Plan, the Reorganized Debtors
shall have and shall retain any and all available rights and defenses that the Debtors had with respect to
any Claim or Equity Interest, including, without limitation, the right to assert any objection to Claims or
Equity Interests based on the limitations imposed by section 502 or section 510 of the Bankruptcy Code.
The Debtors and the Reorganized Debtors may contest the amount and validity of any Disputed Claim or


                                                    46
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 52 of 69



Disputed Equity Interest in the ordinary course of business in the manner and venue in which such Claim
or Equity Interest would have been determined, resolved or adjudicated if the Chapter 11 Cases had not
been commenced.

        2. Prosecution of Objections to Claims and Equity Interests

        After the Confirmation Date but before the Effective Date, the Debtors, and after the Effective
Date, the Reorganized Debtors shall have the authority to File objections to Claims and Equity Interests
(other than those that are Allowed under this Plan) and settle, compromise, withdraw or litigate to
judgment objections to any and all such Claims and Equity Interests, regardless of whether such Claims
and Equity Interests are in an Unimpaired Class or otherwise; provided, however, this provision shall not
apply to Professional Fee Claims, which may be objected to by any party-in-interest in these Chapter 11
Cases. From and after the Effective Date, the Reorganized Debtors may settle or compromise any
Disputed Claim and Disputed Equity Interest without any further notice to or action, order or approval of
the Bankruptcy Court. The Reorganized Debtors shall have the sole authority to administer and adjust the
Claims Register and their respective books and records to reflect any such settlements or compromises
without any further notice to or action, order or approval of the Bankruptcy Court.

        3. Claims Estimation

        After the Confirmation Date but before the Effective Date, the Debtors, and after the Effective
Date, the Reorganized Debtors may at any time request that the Bankruptcy Court estimate any Disputed
Claim or contingent or unliquidated Claim pursuant to applicable law, including, without limitation,
section 502(c) of the Bankruptcy Code, and the Bankruptcy Court shall retain jurisdiction under 28
U.S.C. §§ 157 and 1334 to estimate any such Claim, whether for allowance or to determine the maximum
amount of such Claim, including during the litigation concerning any objection to any Claim or during the
pendency of any appeal relating to any such objection. All of the aforementioned Claims objection,
estimation and resolution procedures are cumulative and not exclusive of one another. Claims may be
estimated and subsequently compromised, settled, withdrawn or resolved by any mechanism approved by
the Bankruptcy Court. The rights and objections of all parties are reserved in connection with any such
estimation.

        4. Deadline to File Objections to Claims and Equity Interests

         Any objections to Claims shall be Filed by no later than the Claims Objection Deadline; provided
that nothing contained herein shall limit the Reorganized Debtors’ right to object to Claims, if any, Filed
or amended after the Claims Objection Deadline. Moreover, notwithstanding the expiration of such
objection deadline, the Debtors or the Reorganized Debtors shall continue to have the right to amend any
claims objections and to file and prosecute supplemental objections and counterclaims to a Disputed
Claim until such Disputed Claim is Allowed. Moreover, notwithstanding the expiration of the Claims
Objection Deadline, the Reorganized Debtors shall continue to have the right to amend any claims or
other objections and to File and prosecute supplemental objections and counterclaims to a Disputed Claim
until such Disputed Claim is or becomes Allowed by Final Order.

        Any objections to Equity Interests shall be Filed by no later than the Old GP/LP Objection
Deadline. Moreover, notwithstanding the expiration of such objection deadline, the Reorganized Debtors
shall continue to have the right to amend any objections and to file and prosecute supplemental objections
and counterclaims to a Disputed Equity Interest until such Disputed Equity Interest is or becomes
Allowed by Final Order.




                                                    47
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 53 of 69



B.      No Distributions Pending Allowance

        Notwithstanding any other provision of this Plan to the contrary, no payments or distributions of
any kind or nature shall be made with respect to all or any portion of a Disputed Claim or Disputed
Equity Interest unless and until all objections to such Disputed Claim or Disputed Equity Interest have
been settled or withdrawn or have been determined by Final Order, and the Disputed Claim or Disputed
Equity Interest is or becomes Allowed by Final Order.

C.      Distributions on Account of Disputed Claims and Disputed Equity Interests Once They Are
        Allowed and Additional Distributions on Account of Previously Allowed Claims and Allowed
        Equity Interests

         On each Subsequent Distribution Date (or such earlier date as determined by the Reorganized
Debtors in their sole discretion), the Reorganized Debtors or other applicable Distribution Agent will
make distributions (a) on account of any Disputed Claim and Disputed Equity Interest that has become
Allowed during the preceding calendar quarter, and (b) on account of previously Allowed Claims and
Allowed Equity Interests of property that would have been distributed to the Holders thereof on the dates
distributions previously were made to Holders of Allowed Claims and Allowed Equity Interests in such
Class had the Disputed Claims and Disputed Equity Interests that have become Allowed or Disallowed
been Allowed or Disallowed, as applicable, on such dates. Such distributions will be made pursuant to
the applicable provisions of Article VII of this Plan. For the avoidance of doubt, but without limiting the
terms or conditions of Article VII.B or Paragraph B of this Article VIII, any dividends or other
distributions arising from property distributed to holders of Allowed Claims and Allowed Equity Interests
in a Class and paid to such Holders under this Plan shall also be paid, in the applicable amounts, to any
Holder of a Disputed Claim and Disputed Equity Interest in such Class that becomes Allowed after the
date or dates that such dividends or other distributions were earlier paid to holders of Allowed Claims and
Allowed Equity Interests in such Class.

D.      Reserve for Disputed Claims and Disputed Equity Interests

         The Debtors, the Reorganized Debtors, and the Distribution Agent may, in their respective sole
discretion, establish such appropriate reserves for Disputed Claims and Disputed Equity Interests in the
applicable Class(es) as it determines necessary and appropriate, in each case with the consent of the
Majority Noteholders in the manner set forth in the Restructuring Support Agreement or as approved by
order of the Bankruptcy Court. Without limiting the foregoing, reserves (if any) for Disputed Claims and
Disputed Equity Interests shall equal, as applicable, an amount of property equal to 100% of distributions
to which Holders of Disputed Claims and Disputed Equity Interests in each applicable Class would
otherwise be entitled under this Plan as of such date if such Disputed Claims and Disputed Equity
Interests were Allowed in their respective Face Amount (or based on the Debtors’ books and records if
the applicable Holder has not yet Filed a Proof of Claim or Proof of Interest and the applicable bar date
has not yet expired); provided, however, that the Debtors and the Reorganized Debtors, as applicable,
shall have the right to file a motion seeking to estimate any Disputed Claims or Disputed Equity Interest.




                                                    48
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 54 of 69



                                             ARTICLE IX.

                        CONDITIONS PRECEDENT TO CONFIRMATION
                           AND CONSUMMATION OF THE PLAN

A.      Conditions Precedent to Confirmation

         It shall be a condition to Confirmation of this Plan that the following conditions shall have been
satisfied or waived pursuant to the provisions of Article IX.C hereof:

        1. This Plan and the Restructuring Documents shall be in form and substance consistent in all
respects with the Restructuring Term Sheet and otherwise acceptable to the Special Restructuring
Committee and the Majority Noteholders in the manner set forth in the Restructuring Support Agreement;
and

         2. The Confirmation Order shall have been entered by the Bankruptcy Court, and such order
shall be in form and substance consistent in all respects with the Restructuring Term Sheet and otherwise
acceptable to the Special Restructuring Committee and the Majority Noteholders in the manner set forth
in the Restructuring Support Agreement.

B.      Conditions Precedent to Consummation

         It shall be a condition to Consummation of this Plan that the following conditions shall have been
satisfied or waived pursuant to the provisions of Article IX.C hereof.

      1. The Confirmation Order shall have become a Final Order and such order shall not have been
amended, modified, vacated, stayed, or reversed;

        2. The Confirmation Date shall have occurred;

        3. The Bankruptcy Court shall have entered one or more Final Orders (which may include the
Confirmation Order), in form and substance acceptable to the Special Restructuring Committee and the
Majority Noteholders in the manner set forth in the Restructuring Support Agreement, authorizing the
assumption, assumption and assignment and rejection of the Executory Contracts and Unexpired Leases
by the Debtors as contemplated in this Plan and the Plan Supplement;

         4. This Plan and the Restructuring Documents shall not have been amended or modified other
than in a manner in form and substance consistent in all respects with the Restructuring Term Sheet and
otherwise acceptable to the Special Restructuring Committee and the Majority Noteholders in the manner
set forth in the Restructuring Support Agreement;

         5. The Restructuring Documents shall have been filed, tendered for delivery, and been
effectuated or executed by all Entities party thereto (as appropriate), and in each case in full force and
effect. All conditions precedent to the effectiveness of such Restructuring Documents, including, without
limitation, the Exit Facility Loan Agreement and the New Second Lien Notes Agreement, shall have been
satisfied or waived pursuant to the terms of such applicable Restructuring Documents (or shall be
satisfied concurrently with the occurrence of the Effective Date);

         6. All DIP Credit Agreement Claims shall have been paid off in full in Cash, or will be paid in
full in Cash simultaneously with the effectiveness of this Plan, in accordance with the terms of the DIP
Credit Agreement;


                                                    49
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 55 of 69



        7. All consents, actions, documents, certificates and agreements necessary to implement this
Plan and the transactions contemplated by this Plan shall have been, as applicable, obtained and not
otherwise subject to unfulfilled conditions, effected or executed and delivered to the required parties and,
to the extent required, filed with the applicable governmental units in accordance with applicable laws,
and in each case in full force and effect;

        8. All governmental approvals and consents, including Bankruptcy Court approval, that are
applicable and legally required for the consummation of this Plan shall have been obtained, not be subject
to unfulfilled conditions and be in full force and effect, and, to the extent applicable, all applicable
waiting periods under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended, shall have
expired;

        9. The New Board shall have been selected;

         10. The conditions to the effectiveness of the Exit Facility Credit Agreement and the New
Second Lien Notes Agreement shall have been satisfied or waived and such agreements shall have closed
or will close simultaneously with the effectiveness of this Plan;

        11. The Restructuring Support Agreement shall be in full force and effect and shall not have been
terminated in accordance with its terms;

        12. The Carve Out Reserve shall have been funded in full in Cash by the Debtors in accordance
with the terms and conditions of this Plan;

        13. The Wind-Down Reserve shall have been funded in the amount of $125,000 by the Debtors
in accordance with the terms and conditions of this Plan; and

        14. To the extent invoiced, all (i) Prepetition Credit Agreement Agent & Lenders Fees and
Expenses and (ii) Prepetition Notes Fees and Expenses shall have been paid in full in Cash or reserved in
a manner acceptable to the Majority Noteholders (or approved by order of the Bankruptcy Court) to the
extent of any disputes related thereto.

C.      Waiver of Conditions

        Subject to section 1127 of the Bankruptcy Code, the conditions to Confirmation and
Consummation of this Plan set forth in this Article IX may be waived by the Debtors, with the prior
written consent of the Majority Noteholders in the manner set forth in the Restructuring Support
Agreement, without notice, leave or order of the Bankruptcy Court or any formal action other than
proceeding to confirm or consummate this Plan. The failure of the Debtors or Reorganized Debtors to
exercise any of the foregoing rights shall not be deemed a waiver of any other rights, and each right shall
be deemed an ongoing right that may be asserted at any time.

D.      Effect of Non-Occurrence of Conditions to Confirmation or Consummation

         If the Confirmation or the Consummation of this Plan does not occur with respect to one or more
of the Debtors, then this Plan shall, with respect to such applicable Debtor or Debtors, be null and void in
all respects and nothing contained in this Plan or the Disclosure Statement shall: (1) constitute a waiver or
release of any claims by or Claims against or Equity Interests in the Debtors; (2) prejudice in any manner
the rights of the Debtors, any Holders or any other Entity; (3) constitute an Allowance of any Claim or
Equity Interest; or (4) constitute an admission, acknowledgment, offer or undertaking by the Debtors, any
Holders or any other Entity in any respect.


                                                     50
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 56 of 69



                                               ARTICLE X.

             RELEASE, DISCHARGE, INJUNCTION AND RELATED PROVISIONS

A.      General

         Pursuant to section 1123 of the Bankruptcy Code, and in consideration for the classification,
distributions, releases and other benefits provided under this Plan, upon the Effective Date, the provisions
of this Plan shall constitute a good faith compromise and settlement of all Claims and Equity Interests and
controversies resolved pursuant to this Plan. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Equity Interests and
controversies, as well as a finding by the Bankruptcy Court that any such compromise or settlement is in
the best interests of the Debtors, their Estates, and any Holders of Claims and Equity Interests and is fair,
equitable and reasonable.

         Notwithstanding anything contained herein to the contrary, the allowance, classification and
treatment of all Allowed Claims and Equity Interests and their respective distributions (if any) and
treatments hereunder, takes into account the relative priority and rights of the Claims and the Equity
Interests in each Class in connection with any contractual, legal and equitable subordination rights
relating thereto whether arising under general principles of equitable subordination, section 510 of the
Bankruptcy Code or otherwise. As of the Effective Date, any and all contractual, legal and equitable
subordination rights, whether arising under general principles of equitable subordination, section 510 of
the Bankruptcy Code or otherwise, relating to the allowance, classification and treatment of all Allowed
Claims and Equity Interests and their respective distributions (if any) and treatments hereunder, are
settled, compromised, terminated and released pursuant hereto; provided, however, that nothing contained
herein shall preclude any Person or Entity from exercising their rights pursuant to and consistent with the
terms of this Plan and the contracts, instruments, releases, indentures, and other agreements or documents
delivered under or in connection with this Plan.

B.      Release of Claims and Causes of Action

        1.       Release by the Debtors and their Estates. Pursuant to section 1123(b) and any other
applicable provisions of the Bankruptcy Code, and except as otherwise expressly provided in this
Plan, effective as of the Effective Date, for good and valuable consideration provided by each of the
Released Parties, the adequacy and sufficiency of which is hereby confirmed, the Debtors and the
Reorganized Debtors, in their respective individual capacities and as debtors-in-possession, and on
behalf of themselves and their respective Estates, including, without limitation, any successor to the
Debtors or any Estate representative appointed or selected pursuant to section 1123(b)(3) of the
Bankruptcy Code (collectively, the “Debtor Releasing Parties”) will be deemed to have conclusively,
absolutely, unconditionally, irrevocably, and forever provided a full discharge, waiver and release
to each of the Released Parties (and each such Released Party so released shall be deemed forever
released, waived and discharged by the Debtor Releasing Parties) and their respective assets and
properties (the “Debtor Release”) from any and all claims, Causes of Action, Released and Settled
Claims, Litigation Claims and any other debts, obligations, rights, suits, damages, actions,
remedies, and liabilities whatsoever, whether known or unknown, foreseen or unforeseen, whether
directly or derivatively held, existing as of the Effective Date or thereafter arising, in law, at equity
or otherwise, whether for tort, contract, violations of federal or state securities laws, or otherwise,
based in whole or in part upon any act or omission, transaction, or other occurrence or
circumstances existing or taking place prior to or on the Effective Date arising from or related in
any way in whole or in part to any of the Debtors, including, without limitation, (i) the Chapter 11
Cases, the Disclosure Statement, this Plan, the Restructuring Support Agreement and the


                                                     51
              Case 19-11563-KBO          Doc 98        Filed 07/25/19    Page 57 of 69



Restructuring Documents, (ii) the subject matter of, or the transactions or events giving rise to, any
Claim or Equity Interest that is treated in this Plan, (iii) the business or contractual arrangements
between any Debtor and any Released Parties, (iv) the negotiation, formulation or preparation of
the Restructuring Support Agreement, this Plan, the Disclosure Statement, the Plan Supplement,
the Restructuring Documents, or related agreements, instruments or other documents, (v) the
restructuring of Claims or Equity Interests prior to or during the Chapter 11 Cases, (vi) the
purchase, sale, or rescission of the purchase or sale of any Equity Interest of the Debtors or the
Reorganized Debtors, and/or (vii) the Confirmation or Consummation of this Plan or the
solicitation of votes on this Plan that such Debtor Releasing Party would have been legally entitled
to assert (whether individually or collectively) or that any Holder of a Claim or Equity Interest or
other Entity would have been legally entitled to assert for, or on behalf or in the name of, any
Debtor, its respective Estate or any Reorganized Debtor (whether directly or derivatively) against
any of the Released Parties; provided, however, that the foregoing provisions of this Debtor Release
shall not operate to waive or release: (i) any Causes of Action arising from willful misconduct,
actual fraud, or gross negligence of such applicable Released Party as determined by Final Order of
the Bankruptcy Court or any other court of competent jurisdiction; (ii) any Causes of Action
relating to the MSHA Action (other than against a member of the Special Restructuring
Committee); and/or (iii) the rights of such Debtor Releasing Party to enforce this Plan and the
contracts, instruments, releases, indentures, and other agreements or documents delivered under or
in connection with this Plan or assumed pursuant to this Plan or assumed pursuant to Final Order
of the Bankruptcy Court. The foregoing release shall be effective as of the Effective Date without
further notice to or order of the Bankruptcy Court, act or action under applicable law, regulation,
order, or rule or the vote, consent, authorization or approval of any Person and the Confirmation
Order will permanently enjoin the commencement or prosecution by any Person or Entity, whether
directly, derivatively or otherwise, of any claims, obligations, suits, judgments, damages, demands,
debts, rights, Causes of Action, or liabilities released pursuant to this Debtor Release.
Notwithstanding the foregoing, nothing in this Article X.B shall or shall be deemed to (i) prohibit
the Debtors or the Reorganized Debtors from asserting and enforcing any claims, obligations, suits,
judgments, demands, debts, rights, Causes of Action or liabilities they may have against any Person
that is based upon an alleged breach of a confidentiality or non-compete obligation owed to the
Debtors or the Reorganized Debtors and/or (ii) operate as a release or waiver of any Intercompany
Claims, in each case unless otherwise expressly provided for in this Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the
related provisions and definitions contained herein, and further, shall constitute the Bankruptcy
Court’s finding that the Debtor Release is: (i) in exchange for the good and valuable consideration
provided by the Released Parties; (ii) a good faith settlement and compromise of the claims released
by the Debtor Release; (iii) in the best interest of the Debtors and their Estates; (iv) fair, equitable
and reasonable; and (v) given and made after due notice and opportunity for hearing.

        2.      Release By Third Parties. Except as otherwise expressly provided in this Plan,
effective as of the Effective Date, to the fullest extent permitted by applicable law, for good and
valuable consideration provided by each of the Released Parties, the adequacy and sufficiency of
which is hereby confirmed, and without limiting or otherwise modifying the scope of the Debtor
Release provided by the Debtor Releasing Parties above, each Non-Debtor Releasing Party
(together with the Debtor Releasing Parties, the “Releasing Parties”) will be deemed to have
conclusively, absolutely, unconditionally, irrevocably, and forever provided a full discharge, waiver
and release to each of the Released Parties (and each such Released Party so released shall be
deemed forever released, waived and discharged by the Non-Debtor Releasing Parties) and their
respective assets and properties (the “Third Party Release”) from any and all claims, Causes of

                                                  52
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 58 of 69



Action, Released and Settled Claims, Litigation Claims and any other debts, obligations, rights,
suits, damages, actions, remedies, and liabilities whatsoever, whether known or unknown, foreseen
or unforeseen, whether directly or derivatively held, existing as of the Effective Date or thereafter
arising, in law, at equity or otherwise, whether for tort, contract, violations of federal or state
securities laws, or otherwise, based in whole or in part upon any act or omission, transaction, or
other occurrence or circumstances existing or taking place prior to or on the Effective Date arising
from or related in any way in whole or in part to any of the Debtors, including, without limitation,
(i) the Chapter 11 Cases, the Disclosure Statement, this Plan, the Restructuring Support Agreement
and the Restructuring Documents, (ii) the subject matter of, or the transactions or events giving
rise to, any Claim or Equity Interest that is treated in this Plan, (iii) the business or contractual
arrangements between any Debtor and any Released Parties, (iv) the negotiation, formulation or
preparation of the Restructuring Support Agreement, this Plan, the Disclosure Statement, the Plan
Supplement, the Restructuring Documents, or related agreements, instruments or other documents,
(v) the restructuring of Claims or Equity Interests prior to or during the Chapter 11 Cases, (vi) the
purchase, sale or rescission of the purchase or sale of any Equity Interest of the Debtors or the
Reorganized Debtors, and/or (vii) the Confirmation or Consummation of this Plan or the
solicitation of votes on this Plan that such Non-Debtor Releasing Party would have been legally
entitled to assert (whether individually or collectively) against any of the Released Parties;
provided, however, that the foregoing provisions of this Third Party Release shall not operate to
waive or release (i) any Causes of Action arising from willful misconduct, actual fraud, or gross
negligence of such applicable Released Party as determined by Final Order of the Bankruptcy
Court or any other court of competent jurisdiction; (ii) any Causes of Action relating to the MSHA
Action (other than against a member of the Special Restructuring Committee); and/or (iii) the
rights of such Non-Debtor Releasing Party to enforce this Plan and the contracts, instruments,
releases, indentures, and other agreements and documents delivered under or in connection with
this Plan or assumed pursuant to this Plan or Final Order of the Bankruptcy Court. The foregoing
release shall be effective as of the Effective Date, without further notice to or order of the
Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,
consent, authorization or approval of any Person and the Confirmation Order will permanently
enjoin the commencement or prosecution by any Person or Entity, whether directly, derivatively or
otherwise, of any claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of
Action, or liabilities released pursuant to this Third Party Release.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of the
Third Party Release, which includes by reference each of the related provisions and definitions
contained herein, and further, shall constitute the Bankruptcy Court’s finding that the Third Party
Release is: (i) in exchange for the good and valuable consideration provided by the Released
Parties; (ii) a good faith settlement and compromise of the claims released by the Third Party
Release; (iii) in the best interest of the Debtors and all Holders of Claims and Equity Interests;
(iv) fair, equitable and reasonable; and (v) given and made after due notice and opportunity for
hearing.

C.      Waiver of Statutory Limitations on Releases

         Each of the Releasing Parties in each of the releases contained above expressly acknowledges that
although ordinarily a general release may not extend to claims which the Releasing Party does not know
or suspect to exist in its favor, which if known by it may have materially affected its settlement with the
party released, they have carefully considered and taken into account in determining to enter into the
above releases the possible existence of such unknown losses or claims. Without limiting the generality
of the foregoing, each Releasing Party expressly waives any and all rights conferred upon it by any statute
or rule of law which provides that a release does not extend to claims which the claimant does not know


                                                    53
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 59 of 69



or suspect to exist in its favor at the time of providing the release, which if known by it may have
materially affected its settlement with the released party. The releases contained in this Plan are effective
regardless of whether those released matters are presently known, unknown, suspected or unsuspected,
foreseen or unforeseen.

D.      Discharge of Claims and Equity Interests

        To the fullest extent provided under section 1141(d)(1)(A) and other applicable provisions of the
Bankruptcy Code, except as otherwise expressly provided by this Plan (including, without limitation,
Article V.E and V.F of this Plan) or the Confirmation Order, effective as of the Effective Date, all
consideration distributed under this Plan shall be in exchange for, and in complete satisfaction, settlement,
discharge, and release of, all Claims, Equity Interests and Causes of Action of any kind or nature
whatsoever against the Debtors or any of their respective assets or properties, including any interest
accrued on such Claims or Equity Interests from and after the Petition Date, and regardless of whether
any property shall have been abandoned by order of the Bankruptcy Court, distributed or retained
pursuant to this Plan on account of such Claims, Equity Interests or Causes of Action.

        Except as otherwise expressly provided by this Plan (including, without limitation, Article V.E
and V.F of this Plan) or the Confirmation Order, upon the Effective Date, the Debtors and their Estates
shall be deemed discharged and released under and to the fullest extent provided under sections 524 and
1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code from any and all Claims of any
kind or nature whatsoever, including, but not limited to, demands and liabilities that arose before the
Confirmation Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
Bankruptcy Code. Such discharge shall void any judgment obtained against the Debtors or the
Reorganized Debtors at any time, to the extent that such judgment relates to a discharged Claim.

        Except as otherwise expressly provided by this Plan (including, without limitation, Article V.E
and V.F of this Plan) or the Confirmation Order, upon the Effective Date: (i) the rights afforded herein
and the treatment of all Claims and Equity Interests shall be in exchange for and in complete satisfaction,
settlement, discharge, and release of all Claims and Equity Interests of any nature whatsoever, including
any interest accrued on such Claims from and after the Petition Date, against the Debtors or any of their
respective assets, property, or Estates; (ii) all Claims and Equity Interests shall be satisfied, discharged,
and released in full, and each of the Debtor’s liability with respect thereto shall be extinguished
completely without further notice or action; and (iii) all Entities shall be precluded from asserting against
the Debtors, the Estates, the Reorganized Debtors, each of their respective successors and assigns, and
each of their respective assets and properties, any such Claims or Equity Interests, whether based upon
any documents, instruments or any act or omission, transaction, or other activity of any kind or nature that
occurred prior to the Effective Date or otherwise.

E.      Exculpation

         Effective as of the Effective Date, the Exculpated Parties shall neither have nor incur any
liability to any Person or Entity for any claims, Causes of Action or Released and Settled Claim
arising prior to or on the Effective Date for any act taken or omitted to be taken in connection with,
or related to, formulating, negotiating, preparing, disseminating, implementing, administering,
confirming or effecting the Confirmation or Consummation of this Plan, the Disclosure Statement,
the Restructuring Documents or any contract, instrument, release or other agreement or document
created or entered into in connection with this Plan, including the Restructuring Support
Agreement, or any other prepetition or postpetition act taken or omitted to be taken in connection
with or in contemplation of the restructuring of the Debtors, the approval of the Disclosure
Statement or Confirmation or Consummation of this Plan; provided, however, that the foregoing


                                                     54
               Case 19-11563-KBO            Doc 98         Filed 07/25/19     Page 60 of 69



provisions of this exculpation shall not operate to waive or release: (i) any Causes of Action arising
from willful misconduct, actual fraud, or gross negligence of such applicable Exculpated Party as
determined by Final Order of the Bankruptcy Court or any other court of competent jurisdiction;
and/or (ii) the rights of any Person or Entity to enforce this Plan and the contracts, instruments,
releases, indentures, and other agreements and documents delivered under or in connection with
this Plan or assumed pursuant to this Plan or Final Order of the Bankruptcy Court; provided,
further, that each Exculpated Party shall be entitled to rely upon the advice of counsel concerning
its respective duties pursuant to, or in connection with, the above referenced documents, actions or
inactions. The foregoing exculpation shall be effective as of the Effective Date without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,
or rule or the vote, consent, authorization or approval of any Person. Notwithstanding the
foregoing, nothing in this Article X.E shall or shall be deemed to prohibit the Debtors or the
Reorganized Debtors from asserting and enforcing any claims, obligations, suits, judgments,
demands, debts, rights, Causes of Action or liabilities they may have against any Person that is
based upon an alleged breach of a confidentiality or non-compete obligation owed to the Debtors or
the Reorganized Debtors, in each case unless otherwise expressly provided for in this Plan.

F.      Preservation of Causes of Action

        1. Maintenance of Causes of Action

         Except as otherwise provided in this Article X (including, without limitation, and for the
avoidance of doubt, the Releases contained in Article X.B and Exculpation contained in Article X.E
hereof) or elsewhere in this Plan or the Confirmation Order, after the Effective Date, the Reorganized
Debtors shall retain all rights to commence, pursue, litigate or settle, as appropriate, any and all Litigation
Claims, whether existing as of the Petition Date or thereafter arising, in any court or other tribunal
including, without limitation, in an adversary proceeding Filed in the Chapter 11 Cases. The Reorganized
Debtors, as the successors-in-interest to the Debtors and the Estates, may, and shall have the exclusive
right to, enforce, sue on, settle, compromise, transfer or assign (or decline to do any of the foregoing) any
or all of such Litigation Claims without notice to or approval from the Bankruptcy Court.

        2. Preservation of All Causes of Action Not Expressly Settled or Released

         Except as otherwise expressly provided in this Plan, the Debtors expressly reserve all Causes of
Action and Litigation Claims for later adjudication by the Debtors or the Reorganized Debtors (including,
without limitation, Causes of Action and Litigation Claims not specifically identified or of which the
Debtors may presently be unaware or which may arise or exist by reason of additional facts or
circumstances unknown to the Debtors at this time or facts or circumstances that may change or be
different from those the Debtors now believe to exist) and, therefore, no preclusion doctrine, including,
without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
waiver, estoppel (judicial, equitable or otherwise) or laches shall apply to such Causes of Action or
Litigation Claims upon or after the Confirmation or Consummation of this Plan based on the Disclosure
Statement, this Plan or the Confirmation Order, except in each case where such Causes of Action or
Litigation Claims have been expressly waived, relinquished, released, compromised or settled in this Plan
(including, without limitation, and for the avoidance of doubt, the Releases contained in Article X.B and
Exculpation contained in Article X.E hereof) or any other Final Order (including, without limitation, the
Confirmation Order). In addition, the Debtors and the Reorganized Debtors expressly reserve the right to
pursue or adopt any claims alleged in any lawsuit in which any of the Debtors are a plaintiff, defendant or
an interested party, against any Person or Entity, including, without limitation, the plaintiffs or co-
defendants in such lawsuits.



                                                      55
               Case 19-11563-KBO            Doc 98        Filed 07/25/19     Page 61 of 69



G.      Injunction

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS PLAN OR THE
CONFIRMATION ORDER, FROM AND AFTER THE EFFECTIVE DATE, ALL PERSONS
AND ENTITIES ARE, TO THE FULLEST EXTENT PROVIDED UNDER SECTION 524 AND
OTHER APPLICABLE PROVISIONS OF THE BANKRUPTCY CODE, PERMANENTLY
ENJOINED FROM (I) COMMENCING OR CONTINUING, IN ANY MANNER OR IN ANY
PLACE, ANY SUIT, ACTION OR OTHER PROCEEDING; (II) ENFORCING, ATTACHING,
COLLECTING, OR RECOVERING IN ANY MANNER ANY JUDGMENT, AWARD, DECREE,
OR ORDER; (III) CREATING, PERFECTING, OR ENFORCING ANY LIEN OR
ENCUMBRANCE; (IV) ASSERTING A SETOFF OR RIGHT OF SUBROGATION OF ANY
KIND; OR (V) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR
OTHER PROCEEDING OF ANY KIND, IN EACH CASE ON ACCOUNT OF OR WITH
RESPECT TO ANY CLAIM, DEMAND, LIABILITY, OBLIGATION, DEBT, RIGHT, CAUSE
OF ACTION, EQUITY INTEREST, OR REMEDY RELEASED OR TO BE RELEASED,
EXCULPATED OR TO BE EXCULPATED, SETTLED OR TO BE SETTLED OR
DISCHARGED OR TO BE DISCHARGED PURSUANT TO THIS PLAN OR THE
CONFIRMATION ORDER AGAINST ANY PERSON OR ENTITY SO RELEASED,
DISCHARGED, OR EXCULPATED (OR THE PROPERTY OR ESTATE OF ANY PERSON OR
ENTITY SO RELEASED, DISCHARGED, OR EXCULPATED). ALL INJUNCTIONS OR
STAYS PROVIDED FOR IN THE CHAPTER 11 CASES UNDER SECTION 105 OR SECTION
362 OF THE BANKRUPTCY CODE, OR OTHERWISE, AND IN EXISTENCE ON THE
CONFIRMATION DATE, SHALL REMAIN IN FULL FORCE AND EFFECT UNTIL THE
EFFECTIVE DATE.

H.      Binding Nature Of Plan

      ON THE EFFECTIVE DATE, AND EFFECTIVE AS OF THE EFFECTIVE DATE, THIS
PLAN SHALL BIND, AND SHALL BE DEEMED BINDING UPON, THE DEBTORS, THE
REORGANIZED DEBTORS, ANY AND ALL HOLDERS OF CLAIMS AGAINST AND EQUITY
INTERESTS IN THE DEBTORS, ALL PERSONS AND ENTITIES THAT ARE PARTIES TO
OR ARE SUBJECT TO THE SETTLEMENTS, COMPROMISES, RELEASES, DISCHARGES,
AND INJUNCTIONS DESCRIBED IN THIS PLAN, EACH PERSON AND ENTITY
ACQUIRING PROPERTY UNDER THIS PLAN, ANY AND ALL NON-DEBTOR PARTIES TO
EXECUTORY CONTRACTS AND UNEXPIRED LEASES WITH THE DEBTORS AND THE
RESPECTIVE SUCCESSORS AND ASSIGNS OF EACH OF THE FOREGOING, TO THE
MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, AND NOTWITHSTANDING
WHETHER OR NOT SUCH PERSON OR ENTITY (I) WILL RECEIVE OR RETAIN ANY
PROPERTY, OR INTEREST IN PROPERTY, UNDER THIS PLAN, (II) HAS FILED A PROOF
OF CLAIM OR INTEREST IN THE CHAPTER 11 CASES OR (III) FAILED TO VOTE TO
ACCEPT OR REJECT THIS PLAN, AFFIRMATIVELY VOTED TO REJECT THIS PLAN OR
IS CONCLUSIVELY PRESUMED TO REJECT THIS PLAN.

I.      Released and Settled Claims.

        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, this Plan
incorporates an integrated compromise, settlement and release of the Released and Settled Claims, to
achieve a beneficial and efficient resolution of these Chapter 11 Cases for all parties in interest. The entry
of the Confirmation Order shall constitute the Bankruptcy Court’s approval, as of the Effective Date, of
the compromise or settlement of all such Released and Settled Claims and the Court’s determination that
such compromises and settlements are in the best interests of the Debtors, their estates, the Reorganized


                                                     56
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 62 of 69



Debtors, creditors and all other parties in interest, and are fair, equitable and within the range of
reasonableness. The compromises, settlements and releases described herein shall be deemed
nonseverable from each other and from all other terms of this Plan.

J.      Protection Against Discriminatory Treatment

        To the extent provided by section 525 of the Bankruptcy Code and the Supremacy Clause of the
United States Constitution, all Persons and Entities, including Governmental Units, shall not discriminate
against the Reorganized Debtors or deny, revoke, suspend or refuse to renew a license, permit, charter,
franchise or other similar grant to, condition such a grant to, discriminate with respect to such a grant,
against the Reorganized Debtors, or another Person or Entity with whom the Reorganized Debtors have
been associated, solely because any Debtor has been a debtor under chapter 11 of the Bankruptcy Code,
has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11 Cases
but before the Debtors are granted or denied a discharge) or has not paid a debt that is dischargeable in the
Chapter 11 Cases.

K.      Integral Part of Plan

        Each of the provisions set forth in this Plan with respect to the settlement, release, discharge,
exculpation, injunction, indemnification and insurance of, for or with respect to Claims and/or Causes of
Action are an integral part of this Plan and essential to its implementation. Accordingly, each Entity that
is a beneficiary of such provision shall have the right to independently seek to enforce such provision and
such provision may not be amended, modified, or waived after the Effective Date without the prior
written consent of such beneficiary.

                                              ARTICLE XI.

                                   RETENTION OF JURISDICTION

        Pursuant to sections 105(c) and 1142 of the Bankruptcy Code and notwithstanding the entry of
the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall, on and after
the Effective Date, retain exclusive jurisdiction over the Chapter 11 Cases and all Entities with respect to
all matters related to the Chapter 11 Cases, the Debtors and this Plan as legally permissible, including,
without limitation, jurisdiction to:

        1. allow, disallow, determine, liquidate, classify, estimate or establish the priority or secured or
unsecured status of any Claim or Equity Interest, including, without limitation, the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to the
allowance or priority of any such Claim or Equity Interest;

        2. grant or deny any applications for allowance of compensation or reimbursement of expenses
authorized pursuant to the Bankruptcy Code or this Plan, for periods ending on or before the Effective
Date; provided, however, that, from and after the Effective Date, the Reorganized Debtors shall pay
Professionals in the ordinary course of business for any work performed after the Effective Date and such
payment shall not be subject to the approval of the Bankruptcy Court;

         3. resolve any matters related to the assumption, assignment or rejection of any Executory
Contract or Unexpired Lease and to adjudicate and, if necessary, liquidate, any Claims arising therefrom,
including, without limitation, those matters related to any amendment to this Plan after the Effective Date
to add Executory Contracts or Unexpired Leases to the list of Executory Contracts and Unexpired Leases
to be assumed or rejected (as applicable);


                                                     57
               Case 19-11563-KBO            Doc 98        Filed 07/25/19     Page 63 of 69



        4. resolve any issues related to any matters adjudicated in the Chapter 11 Cases;

       5. ensure that distributions to Holders of Allowed Claims or Allowed Equity Interests are
accomplished pursuant to the provisions of this Plan;

         6. decide or resolve any motions, adversary proceedings, contested or litigated matters and any
other Causes of Action that are pending as of the Effective Date or that may be commenced in the future,
and grant or deny any applications involving the Debtors that may be pending on the Effective Date or
instituted by the Reorganized Debtors after the Effective Date, provided, however that the Reorganized
Debtors shall reserve the right to commence actions in all appropriate forums and jurisdictions;

        7. enter such orders as may be necessary or appropriate to implement or consummate the
provisions of this Plan and all other contracts, instruments, releases, indentures and other agreements or
documents adopted in connection with this Plan, the Plan Supplement or the Disclosure Statement;

        8. resolve any cases, controversies, suits or disputes that may arise in connection with the
Consummation, interpretation or enforcement of this Plan or any Person or Entity’s obligations incurred
in connection with this Plan;

      9. hear and determine all Causes of Action that are pending as of the Effective Date or that may
be commenced in the future;

        10. issue injunctions and enforce them, enter and implement other orders or take such other
actions as may be necessary or appropriate to restrain interference by any Person or Entity with
Consummation or enforcement of this Plan;

      11. enforce the terms and conditions of this Plan, the Confirmation Order, and the Restructuring
Documents;

        12. resolve any cases, controversies, suits or disputes with respect to the Release, the
Exculpation, and other provisions contained in Article X hereof and enter such orders or take such others
actions as may be necessary or appropriate to implement or enforce all such provisions;

        13. hear and determine all Litigation Claims;

        14. enter and implement such orders or take such other actions as may be necessary or
appropriate if the Confirmation Order is modified, stayed, reversed, revoked or vacated;

         15. resolve any other matters that may arise in connection with or relate to this Plan, the
Disclosure Statement, the Confirmation Order or any release or exculpation adopted in connection with
this Plan; and

        16. enter an order concluding or closing the Chapter 11 Cases.

         Notwithstanding the foregoing, (i) any dispute arising under or in connection with the Exit Credit
Agreement or New Second Lien Notes Agreement shall be dealt with in accordance with the provisions of
the applicable document and (ii) if the Bankruptcy Court abstains from exercising, or declines to exercise,
jurisdiction or is otherwise without jurisdiction over any matter arising in, arising under, or related to the
Chapter 11 Cases, including the matters set forth in this Article of the Plan, the provisions of this Article
XI shall have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by any
other court having jurisdiction with respect to such matter.


                                                     58
               Case 19-11563-KBO            Doc 98         Filed 07/25/19     Page 64 of 69



                                              ARTICLE XII.

                                   MISCELLANEOUS PROVISIONS

A.      Substantial Consummation

        “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to
occur on the Effective Date.

B.      Payment of Statutory Fees; Post-Effective Date Fees and Expenses

         All fees due and payable pursuant to section 1930 of Title 28 of the U.S. Code prior to the
Effective Date shall be paid by the Debtors. On and after the Effective Date, the Reorganized Debtors
shall pay any and all such fees when due and payable, and shall file with the Bankruptcy Court quarterly
reports in a form reasonably acceptable to the United States Trustee. Each Debtor shall remain obligated
to pay quarterly fees to the Office of the United States Trustee until the earliest of that particular Debtor’s
case being closed, dismissed, or converted to a case under Chapter 7 of the Bankruptcy Code.

         The Reorganized Debtors shall pay the liabilities and charges that they incur on or after the
Effective Date for Professionals’ fees, disbursements, expenses, or related support services (including
reasonable fees, costs and expenses incurred by Professionals relating to the preparation of interim and
final fee applications and obtaining Bankruptcy Court approval thereof) in the ordinary course of business
and without application or notice to, or order of, the Bankruptcy Court, including, without limitation, the
reasonable fees, expenses, and disbursements of the Distribution Agents and the fees, costs and expenses
incurred by Professionals in connection with the implementation, enforcement and Consummation of this
Plan and the Restructuring Documents.

C.      Conflicts

        In the event that a provision of the Restructuring Documents or the Disclosure Statement
(including any and all exhibits and attachments thereto) conflicts with a provision of this Plan or the
Confirmation Order, the provision of this Plan and the Confirmation Order (as applicable) shall govern
and control to the extent of such conflict. In the event that a provision of this Plan conflicts with a
provision of the Confirmation Order, the provision of the Confirmation Order shall govern and control to
the extent of such conflict.

D.      Modification of Plan

         Effective as of the date hereof and subject to the limitations and rights contained in this Plan: (a)
the Debtors reserve the right, in accordance with the Bankruptcy Code and the Bankruptcy Rules, to
amend or modify this Plan prior to the entry of the Confirmation Order in a way that is in form and
substance consistent in all respects with the Restructuring Term Sheet and otherwise acceptable to the
Special Restructuring Committee and the Majority Noteholders in the manner set forth in the
Restructuring Support Agreement, in accordance with section 1127(a) of the Bankruptcy Code; and (b)
after the entry of the Confirmation Order, the Debtors or the Reorganized Debtors, as applicable, may,
upon order of the Bankruptcy Court, amend or modify this Plan in a way that is in form and substance
consistent in all respects with the Restructuring Term Sheet and otherwise acceptable to the Special
Restructuring Committee and the Majority Noteholders in the manner set forth in the Restructuring
Support Agreement, in accordance with section 1127(b) of the Bankruptcy Code or to remedy any defect
or omission or reconcile any inconsistency in this Plan in such manner as may be necessary to carry out
the purpose and intent of this Plan. A Holder of a Claim or Equity Interest that has accepted this Plan


                                                      59
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 65 of 69



shall be deemed to have accepted this Plan, as altered, amended or modified, if the proposed alteration,
amendment or modification does not materially and adversely change the treatment of the Claim or
Equity Interest of such Holder.

E.      Revocation or Withdrawal of Plan

         The Debtors reserve the right to revoke or withdraw this Plan prior to the Effective Date and/or to
File subsequent chapter 11 plans, with respect to one or more of the Debtors. If the Debtors revoke or
withdraw this Plan, or if Confirmation or Consummation of this Plan does not occur with respect to one
or more of the Debtors, then with respect to the applicable Debtor or Debtors for which this Plan was
revoked or withdrawn or for which Confirmation or Consummation of this Plan did not occur: (1) this
Plan shall be null and void in all respects; (2) any settlement or compromise embodied in this Plan,
assumption or rejection of Executory Contracts or Unexpired Leases effected by this Plan and any
document or agreement executed pursuant hereto shall be deemed null and void except as may be set
forth in a separate order entered by the Bankruptcy Court; and (3) nothing contained in this Plan shall:
(a) constitute a waiver or release of any Claims by or against, or any Equity Interests in, the applicable
Debtors or any other Entity; (b) prejudice in any manner the rights of the applicable Debtors or any other
Entity; or (c) constitute an admission, acknowledgement, offer or undertaking of any sort by the
applicable Debtors or any other Entity.

F.      Successors and Assigns

        This Plan shall be binding upon and inure to the benefit of the Debtors, the Reorganized Debtors,
all present and former Holders of Claims and Equity Interests, other parties-in-interest, and their
respective heirs, executors, administrators, successors, and assigns. The rights, benefits, and obligations
of any Person or Entity named or referred to in this Plan shall be binding on, and shall inure to the benefit
of, any heir, executor, administrator, successor, or assign of such Person or Entity.

G.      Reservation of Rights

         Except as expressly set forth herein, this Plan shall have no force or effect unless and until the
Bankruptcy Court enters the Confirmation Order and this Plan is Consummated. Neither the filing of this
Plan, any statement or provision contained herein, nor the taking of any action by the Debtors or any other
Entity with respect to this Plan shall be or shall be deemed to be an admission or waiver of any rights of:
(1) the Debtors with respect to the Holders of Claims or Equity Interests or other Entity; or (2) any Holder
of a Claim or an Equity Interest or other Entity prior to the Effective Date.

H.      Further Assurances

         The Debtors or the Reorganized Debtors, as applicable, all Holders of Claims receiving
distributions hereunder and all other Entities shall, from time to time, prepare, execute and deliver any
agreements or documents and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of this Plan or the Confirmation Order.

I.      Severability

        If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the power to alter
and interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void, or unenforceable,
and such term or provision will then be applicable as altered or interpreted. Notwithstanding any such


                                                     60
              Case 19-11563-KBO            Doc 98        Filed 07/25/19    Page 66 of 69



holding, alteration or interpretation, the remainder of the terms and provisions of this Plan will remain in
full force and effect and will in no way be affected, impaired, or invalidated by such holding, alteration,
or interpretation. The Confirmation Order will constitute a judicial determination and will provide that
each term and provision of this Plan, as it may have been altered or interpreted in accordance with the
foregoing, is valid and enforceable pursuant to its terms.

J.      Service of Documents

        Any notice, direction or other communication given regarding the matters contemplated by this
Plan (each, a “Notice”) must be in writing, sent by personal delivery, electronic mail, courier or facsimile
and addressed as follows:

                 If to the Debtors:

                         Superior Silica Sands LLC
                         5600 Clearfork Main Street, Suite 400
                         Fort Worth, Texas 76109
                         Attn: Roy Messing, Chief Restructuring Officer
                         Direct Dial: (203) 241-6082
                         Fax: (212) 818-1551
                         Email: roy.messing@ankura.com

                 with a copy to:

                         Latham & Watkins LLP
                         885 Third Avenue
                         New York, NY 10022
                         Attn: Keith A. Simon
                         Direct Dial: (212) 906-1372
                         Fax: (212) 751-4864
                         Email: keith.simon@lw.com

                 If to the Committee:

                         [insert]


                 If to the Prepetition Agents or Majority Noteholders:

                         Weil, Gotshal & Manges LLP
                         767 Fifth Avenue
                         New York, NY 10153
                         Attn: Matt Barr
                         David Griffiths
                         Telephone: (212) 310-8000
                         Fax: (212) 310-8007
                         Email: matt.barr@weil.com
                         david.griffiths@weil.com




                                                    61
              Case 19-11563-KBO            Doc 98         Filed 07/25/19    Page 67 of 69



         A Notice is deemed to be given and received (a) if sent by personal delivery or courier, on the
date of delivery if it is a Business Day and the delivery was made prior to 4:00 p.m. (local time in place of
receipt) and otherwise on the next Business Day, or (b) if sent by facsimile, on the Business Day
following the date of confirmation of transmission by the originating facsimile, or (c) if sent by electronic
mail, when the sender receives an email from the recipient acknowledging receipt, provided that an
automatic “read receipt” does not constitute acknowledgment of an email for purposes of this Section.
Any party may change its address for service from time to time by providing a Notice in accordance with
the foregoing. Any element of a party’s address that is not specifically changed in a Notice will be
assumed not to be changed. Sending a copy of a Notice to a party’s legal counsel as contemplated above
is for information purposes only and does not constitute delivery of the Notice to that party. The failure
to send a copy of a Notice to legal counsel does not invalidate delivery of that Notice to a party.

K.      Exemption from Transfer Taxes Pursuant to Section 1146(a) of the Bankruptcy Code

         Pursuant to section 1146(a) of the Bankruptcy Code, any issuance, transfer, or exchange of a
security, or the making or delivery of an instrument of transfer of property, pursuant to or in connection
with this Plan or the Restructuring Documents shall not be subject to any Stamp or Similar Tax or
governmental assessment in the United States or by any other Governmental Unit, and the Confirmation
Order shall direct the appropriate federal, state or local (domestic or foreign) governmental officials or
agents to forgo the collection of any such Stamp or Similar Tax or governmental assessment and to accept
for filing and recordation instruments or other documents evidencing such action or event without the
payment of any such Stamp or Similar Tax or governmental assessment. Such exemption specifically
applies, without limitation, to (i) all actions, agreements and documents necessary to evidence and
implement the provisions of, transactions contemplated by and the distributions to be made under this
Plan or the Restructuring Documents, (ii) the issuance and distribution of the New GP/LP Equity Interests
or Plan Securities and Documents, and (iii) the maintenance or creation of security interests or any Lien
as contemplated by this Plan or the Restructuring Documents.

L.      Governing Law

        Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal law is
applicable, or to the extent that a Restructuring Document or an exhibit or schedule to this Plan provides
otherwise, the rights and obligations arising under this Plan shall be governed by, and construed and
enforced in accordance with, the laws of Delaware, without giving effect to the principles of conflicts of
law of such jurisdiction.

M.      Tax Reporting and Compliance

        The Reorganized Debtors are hereby authorized, on behalf of the Debtors, to request an expedited
determination under section 505(b) of the Bankruptcy Code of the tax liability of the Debtors for all
taxable periods ending after the Petition Date through and including the Effective Date.

N.      Schedules

        All exhibits and schedules to this Plan, including the Exhibits and Plan Schedules, are
incorporated herein and are a part of this Plan as if set forth in full herein.

O.      No Strict Construction

       This Plan is the product of extensive discussions and negotiations between and among, inter alia,
the Debtors, the Committee, the Prepetition Credit Agreement Agent, the Prepetition Notes Agent, the


                                                     62
               Case 19-11563-KBO            Doc 98        Filed 07/25/19     Page 68 of 69



Prepetition Credit Agreement Lenders, the Prepetition Notes Lenders, and their respective professionals.
Each of the foregoing was represented by counsel of its choice who either participated in the formulation
and documentation of, or was afforded the opportunity to review and provide comments on, this Plan, the
Disclosure Statement, the Exhibits and the Plan Schedules, and the agreements and documents ancillary
or related thereto. Accordingly, unless explicitly indicated otherwise, the general rule of contract
construction known as “contra proferentem” or other rule of strict construction shall not apply to the
construction or interpretation of any provision of this Plan, the Disclosure Statement, the Exhibits or the
Plan Schedules, or the documents ancillary and related thereto.

P.      Entire Agreement

         Except as otherwise provided herein or therein, this Plan and the Restructuring Documents
supersede all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings, and representations on such subjects, all of which have become merged and integrated
into this Plan and the Restructuring Documents.

Q.      Closing of Chapter 11 Cases

        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases,
File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable
order of the Bankruptcy Court to close the Chapter 11 Cases.

R.      Dissolution of Committee

         On and as of the Effective Date, any Committee shall dissolve automatically and its members
shall be released and discharged from all rights, duties and responsibilities arising from, or related to, the
Chapter 11 Cases. The Reorganized Debtors shall not be responsible for paying any fees, costs, or
expenses incurred by the members, professionals, or advisors to any Committee after the Effective Date.

S.      2002 Notice Parties

         After the Effective Date, the Debtors and the Reorganized Debtors, as applicable, are authorized
to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who
have Filed a renewed request after the Confirmation Hearing to receive documents pursuant to
Bankruptcy Rule 2002.




                                                     63
Case 19-11563-KBO   Doc 98        Filed 07/25/19   Page 69 of 69




                        Respectfully submitted,

                         EMERGE ENERGY SERVICES LP AND ITS
                         AFFILIATE DEBTORS

                         By:
                         Title:




                             64
